   Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 1 of 66




                                                             ,.rI
                                                                                              $45C ;*.Yt
                                 90i06535f, 4:I1 ir r                        lr   JJ.tl.l4*:5-.::: -*-'jr sr
               il   +*ll F-,                                          Jt,                 +iirJl     L.J




                               KrJddcled                                    Hcc bcled




                                                        i-r."11* ti




CCN=IDENTIAL
                                                                                                           Shatsky-JD00262
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 2 of 66




                          .,..,.... ..?i' L0_q9.1 5.9 iin_.tr err                                               -':-Yl,"i-;
                                                                                                                 X!!l   !-
                f :t"',                                                            .{'il1
                                                                                            'ir




                          11-5dircteil
                                                                                                  Rtsrflt.etl




                                                                    ..:j&J   *Jl




CCH!IC'ENTIAL

                                                                                                                Shatsky-JD00263
    Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 3 of 66




                              ,. ..gf.t'1.!6!qfP
                                                   ii.,rr' c-,

            tjitJi   I
                                                                                  qlll   '@1i;;




                         H r+{li'rcted
                                                                                                  He,lat:lEtl




                                                                 ;_-..-qfi..s H




CLlN=IDENTIAL
                                                                                                                Shatsky-JD00264
      Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 4 of 66




                                                                            ,t..:{

                            ,.,..........901065:!SE iri Jr j ,

               I   ..r,Jr
                                                                                                   .tflL-J.*l




                             I   {edacted
                                                                                     Rli a,:tcti




                                                                 *;11   5




CCN=IFENTIAL

                                                                                                                Shaisky-JD00265
     Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 5 of 66




                                                                                   , ;-l{


                                        ......... s019.q[1]! iiiJr,.i ,

                -   il!l       :,--J{
                                                                                            rI.r        'lr.- :l
                                                                                                                   -l


               F.'idictcd
                                                                                                   IladaTF,:



                7. ! 32.50
                7. 3i 50
                .,,$?T0
          I ? a?iu
                    1'3'J.50                                l':,r dacl3.1

                    132.50




                                                                            d-,i-i. s




COH=IDENTIAL
                                                                                                                        sharsky-JDO0266
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 6 of 66




                   Exhibit 145
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 7 of 66




       CONFIDENTIAL                                               SHATSKY-JDO119O-T




                                IPalestin ian Authority embleml

                                      State of Palestine

                       Ministry of Detainees and Ex-Detainees Affairs j

                General Administration for Administrative and Financial Affairs

                                     Archive Department

        788/,               H ussam Abdu l-Kad er Ahmad Hala b

        lmportant note: The file contains two files of two separate prisoners.

       Kindly pay attention to this to avoid confusing the two.




      CONFIDENTIAL                                           SHATSKY-JDO119O-T
              Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 8 of 66




                        CONFIDENTIAL                                                         SHATSKY. JDO1191-T


                                                lEnglish:l TO WHOM lT MAY CONCERN

                                                                                             No.42862
Completed 1Q
years ond is still in   This certificate is valid only if the English and Arabic parts match each other.
prison.
                        According to the information received from the lsraeli Authorities, the lnternational
After follow-up         Committee of the Red Cross certifies that
with brother
Abdolloh,               Mr/Mrs. HOSSAM ABDELQADER AHMAD HAIABI
Iillegihle] increose
                                                  R"e"ld923-9
the ollowance
                        From: sALFlr lD No.
{illegiblel
                        Was arrested by the lsraeli Authorities on Day: 26 Month: 11 Year:-2002

                        He/She is to date: Awaiting Trial D Sentenced E Administrative E

                        Length of sentence / administrative period: LIFE SENTENCE

                        He/She was released on Day: !S                   xxxxx

                        (Tick the box and underline the correct designation!                               7887




                                                  lArablc:l TO WHOM lT MAY CONCERN                   50625

                                          1-17 Fllegible - probably signoturel



                        This certificate is valid only if the English and Arabic parts match each other.

                        According to the information received from the lsraeli Authorities, the lnternational
                        Committee of the Red Cross certifies that

                        Mr/Mrs. HOSSAM ABDETQADER AHMAD HALABI
                                                  Rue"dg23_g
                        From: SALFIT lD No.

                        Was arrest3ed by the lsraeli Authoritles on Day: !Q Month:.!! Year:f@

                        He/She ls to date: Awaiting Trial D Sentenced I          Admlnistratlve D

                        Length of sentence / administrative period: LIFE SENTENCE

                        He/She was released on Day: XXXXX Month: XXXXX                   Year:-&
                        (Tickthe box and underline the correct designation)
                                                                                                            of
                        Date:[!!]qi!!s[          CERTIFIED UPDATE
                                                                                    Place:          the Red
                                                     L2.21.20L7                                      Crossl
                                             lnternational Committee of
                                                    the Red Cross

                        coNFtDENTIAL [Cut off: lcRC Delegate] NATAL+[illegible] SHATSKY- JD01l91-T
     Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 9 of 66


CONFIDENTIAL                                                                                                     SHATSKY.JDO193-T

 IEngllshl Palestinian Nationcl Authority                      [Emblem of the                     [Arabicl Palcstinian National Authority
 Ministry of Deteinces & Ex-detainees Affairs               Palestinian Authorityl           Ministry of Detainees & Exdetainees Affairs
 Gen, Dep. Dctalnees & Ex-detalnees                                                                   Gen. Dep. Dctainees & Ex-detalnces



             Service Request: Coverage of Tuition Fees for Studies During Arrest                                         7881

1. Basic lnformation:

 Service request no. (generated
 randomly by the system!
 Form no.                                            6                6                  o             5          9             7
 Prlsoner                                                                                9             6          3             9
 lD no.
 Full           First Name              Father's Name               Grandfather's Name                 Family Name
 name           Hussam                  Abdul-Kader                 Ahmed                              Halabi
 Servlce        3.23.2011                                           Administration:                    Salfit
 request
 Date
2. Education Check/Checks lnformatlon:

 Serial                  Check no.            Check value                 Payment date           Prison    /          Notes
                                                                                                 Detention
                                                                                                Center
 t.                                           Redacted
 2.
 3.
 !,
 5-
 Total sum
 covered:


 Service requestor's notes:
 Confirmation:                          I the undersigned confirm and testify that all of the information provided in this
                                        application is correct and I take responsibility for it.
 Service requestor's slgnaturel
3. Attached Documents: check (v| alongside attached documents (confirmation and approval of the Administration's head)

           Beneficiary's copy of lD according to official                   Original/approved Red Cross certifi cate
           authority
 E]        Paid and signed original check slip 3 copies           E         Copy of bank account card - Shekel
 !         [cut offl                                              n


                                       [Round stemp in Arabic:J

                                       The Palestinian National Authority

                                       Ministry of Detainees and Ex-detainees

                                       Salfit Administration




CONFIDENTIAL                                                                                                    SHATSKY-JDO193-T
     Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 10 of 66


                                                                                                        SHATSKY-JDO194-T
CONFIDENTIAL

 IEnglisht Palcstinian National Authority                 [Emblem of the               [Arabicl Palestinian National Authority
 Ministry of Detainces & Ex-detcinees Affairs          Palestinian AuthorityJ     Ministry of Detainees & Ex-dctsinees Aff6irs
 Gcn. Dep. Dctainees & Ex-detalnees                                                        Gen. Dep, Detalnees & Ex-detainecs



4. For Official Use:

 Advisor/Employee's Name:             Faida A-Shami
 Advisor/Employee's Notes:            Three checks are attached. Please do what is
 Date:                                3.23.20t1                                               Faida

 Admlnistratlon Head's Name           lsmat Abu Saleh[*J
                                                                                     lK9uttv -'-                r
 Administration Head's Notes:                                                                                       ^..+h^ritv
 Date:                                3.23.20Lt             Stamps end Slgnaturc
                                                                                                                ano
                                                                                                    Detainees
                                                                                      MinistrY of

                                                                                      Salfit Administration
5. Confirmation and Approval:

 L, Confi rmation by Prisoners' Affairs     I I approve the confirmation of the Service R€guest for coverage of Tuitlon
                                            Fees for Studies During Arrest (per             and laws)
 Name of authorized emPloYee:
 Datel                                                       stamp and
                                                             signature:
                                            nldonot             the confirmation of the
  Reasons and causes:


  2. Contirmation bY Legal Affairs:         E I approve the confirmation of the Service Request for Coverage of Tuition
                                            Fees for Studies During Arrest lDer regulations and lawsl
  Name of authorized emPloYee:
  Date:                                                      Date:
                                            nldonot             the confirmation of the
     Reasons and causes:




 z




                                                                                                         SHATSKY.JDOl94-T
 CONFIDENTIAL
  Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 11 of 66


 CONFIDENTIAL                                                                                                         5HATSKY.JDO1196-T

 IEngllshl Palcstinlan Natlonal Authorlty                       IEmblem of the                     [Arablc] Palcstinian Nationat Authorlty
 Ministry of Detainees & Ex-detaincos Affrirs                Palestinian Authorityl           Ministry of Dctrinees & Exdetainees Affairs
 Gcn. Dcp. Detalne€s & Ex-detalnecs                                                                    Gen. Dcp. Dctalnces & Ex-dctalnccs



              service Request: coverage of Tuition Fees for studies During Arrest                                            7887

1. Basic Informatlon:

 Service request no. (generated
 randomly by the system)
 Form no.                                               6              6                  0                 5         9             7
 Prisoner                                                                                 9                 6         3             9
 lD no.
 Full           First Name               Father's Name                 Grandfather's Name                   Family Name
 name           Hussam                   Abdul-Kader                   Ahmed                                Halabi
 Servlce        7.25.2010                                              Administration                       Salfit
 reguest
 Date
2. Education Check/Checks lnformatlon

 Serial                  Check no.            €heck value                  Payment date           Prison     I            Notes
                                                                                                 Detention
                                                                                                 Center
 1.                                           Redacted
 2.
 3.
 4.
 5
 Total sum
 covered:


 Service requestor's notes:
 Confirmation                           I the undersigned confi rm and testify that all of the information provided in this

                                                        is correct and I take                 ity for it.
 Service requestor's slgnature:     Ihandwritten signature]
3. Attached Documents: Check lV) alongside attached documents (confirmation and approval of the Administration's
                                                                                                                 head)
           Beneficlary's copy of lD according to official                    Originallapproved Red Cross certificate exrsts
           authority exrsfs
 B         Paid and signed original check slip exists              E]        Copy of bank account card - Shekel exlsts
 D         Other (specifyl                                         n


                                       {Round stamp in Arabic:l

                                       The Palestinian National Authority

                                       Ministry of Detainees and Ex-detainees

                                       Salfit Administration




CONFIDENTIAL                                                                                                         SHATSKY-JD01196.7
    Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 12 of 66


CONFIDENTIAL                                                                                            SHAT5KY.JDO1197-T


 [EnSlish] Prlcstinlan Nctional Authority                [Emblem of the               [Arabicl Palestinian National Authorhy
 Ministry of Detainees & Ex-detainces Affairs         Palestinian Authorityl     Ministry of Detainees & Ex-detainees Affairs
 Gcn. Dcp. Dctainees & Ex-detalnees                                                       Gen. Dep. Dctalnees & Ex-detalnecs



4- For Official Use:

 Advisor/Employee's Name :           Faida A-Shami
 Advisor/Employee's Notes:           Please pavthe sum in accordance with the ministry's regulations.
 Date:                               7.25.2010            Signature:                      IHandwritten signature]
 Administration Head's Name:         lsmat Abu Saleh[*]
 Administration Head's Notes:
 Date:                               7.25.20LO                       and
                                                                                     The
                                                                                                                and Ex-detainees
                                                                                                    Detainees
                                                                                      Ministry of

5. Confirmatlon and Approval:                                                            salfit Admini*ration

 1. Confi rmation by Prisoners' Affairs     F I approve the confirmation of the servi&Er6Q[5fr6r Coverage of Tuition
                                            Fees for Studies During Arrest (per          and lews)
 Name of authorlzed emploYee:
 Date:                                                      Stamp and
                                                            3ignature:
                                            Dldonot            the confirmation of the
 Reasons and causes:


 2. conlirmatlon by Legal Affairs:          O I approve the conflrmatlon of the Service Request for Coverage of Tultlon
                                            Fees for Studies During Arrest (per regulations and lawsl
  Name of authorized employee:
  Date:                                                     Date:
                                            O I do not approve the confirmation of the
    Reasons and causes:




z




 CONFIDENTIAL                                                                                            SHATSKY-JD01197-T
     Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 13 of 66


             Missing court ruling, it
CONFIDENTIAL can,t be obtained.
                                                                              300149 .l
                                                                                                                            SHATSKY-JDO12OO-T
                                                            7881
    IEnglish] Palestlnian National Authority                         IEmblem of the                     [Arebicl Palcstlnlan Natlonal Authority
    Minlstry of Dctalnecs & Ex-detainecs Affairs                  Palestinian Authoriryl           Ministry of Detalnees & Exdctalnces Affairs
    Gcn. Dep, Dctrinecs & Ex-detrinees                                                                      Gcn. Dcp. Dctainecs & Ex-dctainecs
                                                  ot-
                                                                Main Prisoner Form

    Form no.:
    Form issuance date:        3.10.2011                       Mlnlstry's administration/branch:              Salfit


1, Basic informatlon concernlng the prison€r:

    lD no. {9 digitsl
                                                        :f                                     9                2                3              9
    Four-part
    nam€:
                        Hussam
                              First name


                                             AbduFKader
                                                                 -r
                                                             Father's name                   Grandfather's

                                                                                           Ahmad
                                                                                                 name
                                                                                                                       Halabi
                                                                                                                                Family name


    Mother's            [word erasedl Khadija                                              Gender:                     M Male           I Female
    name
    DoB:                      L978                                                         Place of birth
    Education:          D llllteratc       n              El Hlgh school                                  E                              educatlon
    Profession          Military clerk - Presidential Guard                                Organlzation             Fatah
    prior to arrest;
    Arrest date:        tt.?6.2002                                                         Place of arrest:         ln the middle of the citv
    Arrest status:      I Detained              El Sentenced      E Administrative                        U Free                     E other
    ln case of life     Dav            Month        Year       Expected release date                      Dav          Month         Year
    sentence                                        Life       according to verdict:
    according to                                    term
    tcRc
    Certificate
    Permanent           Governorate:           5alfrt          Residentlal complex:
    resldence:
    Notes:


2' lnformation concerring previous arrests:
                                               -N9OL. only thote atterted to by ICRC certificlte3, in chronological order from newcst to oldert.
     No.     Arrest date        Arrest tvpe             Release date           Arrest perlod                                    Notes
    7                                                                   Day         Month          Year
    2.
    3.
    4.
    5.
    6.



1

CONFIDENTIAL                                                                                                                SHATSKY-JDO1 2OO-T
  Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 14 of 66


                                                                                                           5HATSKY-JDO1 201 -T
CONFIDENTIAL

                                                             lEmblem of the                 lArabicl Palcstinian National Authority
 IEnglish] Palestinian National Authority                                              Ministry of Detainees & Exdetainees Affairs
                                                          Palestinian AuthoritYl
 Ministry of Detainces & Ex-detainees Alfairs
                                                                                                Gen. Dep. Detalnces & Ex-detalnces
 Gen. Dcp. Detalnees & Ex-dltalnecs



3. Social Status lnformation:

                                                       El Married                  Ll Divorced              IWldow
 Marital Status
 lf Married:                Enter data of            and children
                                                                                              Contract Date
 Spouse's lD No.
                                                                                                   Number of Children:
        Name
                                              under      unmarried                 of all
 Data on children from flrst wlfe
                                                                    DoB             Marital Status    Education
 No.    Name
 1.
 2.
 3.
 4.
                                                                s\ng\e
  5.
  6.
  7.
  8.
  9.


 4. lnformation of Authorized Representative {Beneficiary):

                  ID:       The           himself
                                     The prisoner himself                                         RelationshiP:
  Autborized Representative
                    Name:
                                                                       Authorlzation's Period of VallditY:
  Date of Authorlzatlon if
  Availabte:                                                                                                    Redacted
                                      Red acted                        Sank Branch:
   Eank:
                                                                              Redacted
   Account No.
                                                                       Cell Phone No.:
   Landllne Phone No.:
                                      Governorate:     Salfit          Residential comPlex:
   Permanent Beneficiary's
   Address:
   Notes:


           nt's Notes:
                                  I the undersigned confirm and testify that
                                                                               all of the information provided in this form is
   €onflrmation:
                                  correct and I take           for it
                                  Ghassan Abd ul-Kader Ahmad Al-Halabi



  z
                                                                                                              SHATSKY-JDO1201-T
  CONFIDENTIAL
    Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 15 of 66


    CONFIDENTIAL
                                                                                                                     SHATSKY-JDO12O2-T
    5. For Official Use:

     Advisor/Employee's Name:
     Advisor/Employee's Notes:
     Date:
     Administration Head's Name:            lsmat Abu Saleh
     Administration Head' s Notes
     Date:                                  3.10.2010              Stamps and Signature:                         lstampllhandwritten
                                                                                                                 signaturel

    Attached Documents: check (v) alongside attached documents (confirmation
                                                                                           and approval of the Administration,s head)
     a                                 co       of lD                           Be                 of lD
     a       ICRC certificates
                                                                       il       Indictment
    tr       Verdict decision       available) N/A                     g              of bank account card
    tr       Copy of authorized m arriage certificate
                                                                       tr       Copies of children's birth certificates
    tr       Addend u m of additional wife/wives
                                                                       tr       Other
                                                                      IHandwritten signature and round
6. Confirmation and Approval:                                         stamp: P.A. /Ministry of Detainees & Ex_
                                                                      detainees / salfit Administration

    l' Confirmation        Prisoners' Affairs                 the confirmation of the Prisoner Form                    lations and
    Name of authorized
    Date:
                                                                  Stamp and

                                                    Eldonot          the confirmation of the Prisoner Form
    Reasons and causes:


    2. Confirmation by          Affairs:           trr        the confirmation of the Prisoner Form                           and
    Name of authorized
    Date:                                                        Stamp and

                                                   Eldonot          the confirmation of the Prisoner Form
    Reasons and causes:


3

CONFIDENTIAL
                                                                                                                   SHATSKY-JDO12O2-T
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 16 of 66




                                                   SHATSKY-JDO 12 O4_T
  CONEIDENTIAL



     [],ocol RAB]N MEDICA1 CENTER      Redacted
     I Il]egible l
    REIT,INSON CAMPUS
    cour Shasha Tower
   Redacted




   Redacted




    Redacted




       Redacted                                       SHATSK
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 17 of 66




    ONFIDENTTAL
                                                     SHATSKY_JDO 12 O 5-T


      ILOGO] RABIN MEDICAL CENTER
      II1]egibtel                       Redacted
      BEILINSON CAMPUS
      cour Shasha Tower
    Redacted




    Redacted




   Redacted




   Redacted
                                                   SHATSK
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 18 of 66




                                                   SHATSKY-JDO 12 O 6-T
  CONFIDENTIAL


     TIOGO] RABIN MEDICAL CENTER
                                       Redacted
     I I llegibte ]
    BEIIINSON CAMPUS
    Gour Shasha Tower
   Redacted




                                                                   Redacted




    Redacted




     Redacted




      Redacted




       Redacted                                       SHATSK
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 19 of 66




         CONFIDENTTAI
                                                                                                          SHATSKY-,]DO].207-T
                                                                      I Logo ]

                                                         Israel, prison Service
            Attn:           ! Hospital                                                        Unit Ihandwrltinq: i.l legible,/ security l
                            ! Clinic Ihandwriting: orthopedic surgeon]                        Date Ihandwritingl 11,/I't /021
                            I                                                                 Priso ner number
                                                   Re:
         Prisoner detaifs
                                                                                                            IHW: - Rl
            First        name         Surnane       Father's nane
           IHV{: Hatabi]
                                                                           Date of birth        Prisoner sincEi-            Release date:
                                    IHW: Hussaml         IHW: Abdl                                t ll1eqibte l
                                                                                                                      _[illegibte       ]

        D.iagnos is

        lHandwritingi Dannyl


        Case deLaifs and problem

        IHandwriting:
        Is hospitalized because of GSW fracture of
                                                                     ff   tibia
        1r.26.02
       S/P operation for IMN 2/1102
       Continue foflow up with 3 [il.leqlb1e]
                                                           I




       Phys.ical examination
       IIllegibte         HW]

       lstanpl
       Dr. cabriel         Shamis
       LN 065809



       IHandwriting:
       lllleqibtel        1.1.03
       lltleqiblel        curved bone. Recomend walting and if
       lillegiblel        would require bone transplantation andafter tillegiblel                 we don,t see anything
                                                                 even u                 lypu"" op.l

   The required answer fo.Lfowing the examinat.ion

       lHandwriting: In the neantimef walklng with crutches
                                                                                  without treading]
      I Stamp]


  Dr. Yaakov Heshin
  Orthopedic Surgery Specialist
   [   ]llegibfe     l

  I    SlgnaLure ]


                                     Date                                         Signature of referr.ing physician
  CONFIDENTIAI
                                                                                                      SHATSKY-JDO 12 O7-T
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 20 of 66




                                                                                                                   CONFIDENTIAL
       SHATSKY.JDOl2OS-T


                                                       lsrael Defense Forces

  ln the Military Court                                                                            Court File: /03 [handwritten:]
  3065
  ln Beit El                                                                                       Prosecution File: 29/03

  Before a panel                                                                          Police File: 657/02
                                                                                                   1   989/02
                                                                                                   2093102 Binyamin

  ln a trial between the military prosecutor
                                                                                                                       The Plaintiff


                                                             - veFus -



  Hussam Abdul-Kader Ahmad Halabi (code named "Abu-Arab")
  lD NumberRdu"td9239, Date of BirthR"d""'"d.78, resident Of salfit
  Detained since 1 1.26.02
                                                                                                                    The Defendant:


                                                             lndictment


  EiES-@!:
                                                                                                       pursuant to Regulation [word
  Nature of the Offense: Membership and activity in an unlawful association, an offense
  erasedl of the Defense (Emergency) Regulations, 1 945.
                                                                                                          the date of his
  Details of the Offense: The above-named Defendant, within the Region, starting in August 2001 and up to
  arrest or thereabouts, was a member of, or acted as a member of, an unlawful association, specifically:
                                                                                                        member of a small
  starting in August 2001 and up to March 2002 or thereabouts, the above-named Defendant was a
                                                                                                     named "Abu Amir," that
  military clique headed by an operative of Palestinian Authority lntelligence [erased] Aqra, code
                                                        against lsraeli targets in the Region. Others who were active in the
  took upon itself the goal of executing terror attacks
                                                                                                         Deib Shtayeh, an operative
   above-named clique along with the Defendant were an operative of "Force 17," Sa'id Mousa
                                                                                                                               of the
   of the palestinian Authority's Military lntelligence, Shadi Ahmad Mustafa Abu-Zint, an intelligence operative
   palestinian Authority, Rizq Sha'ban Salim, an intelligence operative of the Palestinian Authority, Mahmoud Sabra, an
                  ,'Force 17," Ahmed Abdel Rauf                                       '17," Fadi lssam Salim and Mohamed Hussein
   operative of                                   [erasecl], an operative of "Force
   Bani [erased].
                                                                                                                 was a member and
   Likewise, starting in December 2001 and up to the date of his arrest or thereabouts, the Defendant
   operative [erased] of the Presidential Guard I Force 17 , which is an unlavvful association.


   Sge@!:
    Details of the offense: Trafficking in military equipment, an offense pursuant to Section 2 of the
                                                                                                                  Prohibition Against

   Traflicking in Military Equipment (Judea and samaria) order (No. 243),5728-'1968'
                                                                                                                       way in military
   Details of the offense: The above-named Defendant, within the Region, traflicked or [erased] in a different
                                                                                                            in the Region
   equipment at the end of 2OO1 or a date thereabouts, without an authorization signed by the IDF commander
   or his representative, specilically:
                                                                                                       purchased '10 assault rifles for
   On said clate, the above-named Defendant, together with Ahmad Halabi and Hassan Wael,
   the price of 10,000 dinar.
   SHATSKy-JDS12g8-T Date: 30.01.2003                         1                                        CONFIDENTIAL

                                          Reference: hlbi29-03
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 21 of 66




                                                   [stamp: [cut off] /03 [handwrittenJ
                    SHATSKY-JDO12O9-T                                                                              CONFIDENTIAL


   Ihird Count (Police File 657/02t:
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section s1 of the Security provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the offense: The above-named Defendant, within the Region, on 24.03.02 or thereabouts, intentionally
                                                                                                                            caused
   the death of anolher, specifically:
           1. Following the entrance of IDF forces to Salfit in March 2002lhe Defendant fled togetherwith Anan Abdel Aziz
               Salim (Hashash) to Beit Rima and reached the home of his friend, Tamer Rassam Salim Rimawi, code named
               "the Deib." The Defendant and Anan Hashash slept there.
        2' The next morning, Tamer Rimawi suggested to lhe Defendant and Anan Hashash to go with him to execute a
              shooling terror attack with the intention of causing the death of lsraeli civilians. The Defendant, who had in his
               possession a Kalachnikov assault rifle that he had received due to his service in "Force 1 7,"
                                                                                                     and Anan Hashash,
              agreed. Tamer Rimawi also equipped himself with a Kalashnikov assault rifle and gave another assault rifle to
              Anan Hashash. ln addition, the Defendant and his friends each had a full magazine for their assault rifles.
       3. Around 06:30, Ahmad Hamed Rushdie Rahima (Barghouti) also came to Tamer Rimawi's home, driving a Mazda
              vehicle. Ahmad Barghouti drove the Defendant, Tamer Rimawi and Anan Hashash, armed with the assault rifles,
              to the Palestinian Authority checkpoint near Deir Sudan. There, the Defendant and his friends got out of the
              vehicle, left Ahmad Barghouti and set out on foot following Tamer Rimawi, towards the planned site of the terror
              attack.
       4' Afier the Defendant and his friends reached the road that connects the settlements of Halamish (Neve Tzug and
              Ateret, Tamer Rimawi walked up a hill that overlooks the road, while the Defendant and Anan Hashash waited for
              him nearby until he would complete the execution of the planned tenor attack.
       5. Around 07:15, an Egged bus, Line 468, bearing license plate no. 86-860-01 arrived at the site while making its
              way from the direction of Halamish towards Ateret (hereinafler: the Bus). Tamer Rimawi opened fire at the Bus
              with his Kalashnikov assault rifle with the intention of causing the death of the Bus passengers.
       6' Several bullets that Tamer Rimawi fired hit the Bus, and one bullet penetrated the Bus and hit Esther Kleiman of
              blessed memory, who was riding in the Bus.
       7   ' The Defendant, Tamer Rimawi and Anan Hashash fled on foot from the terror attack site and reached earawat
              Bani Zeid. Tamer Rimawi called Tamer Kamal Hussein Zughl and asked him to tell Ahmad Barghouti to
                                                                                                                      come
              there with his vehicle. Ahmad Barghouti came to Qarawat Bani Zeid in his vehicle, collected the Defendant and
              his friends and drove them to Beit Rima.
       I'     ln his actions described above, the Defendant intentionally caused the death of Esther Kleiman of btessed
              memory, who died on the spot as a result of being hit by the bullet shot by Tamer Rimawi, as described above.
  Fourth Count:
  Nature of the Offense: Membership and activity in an unla\ivful association, an offense pursuant to Regulation gs(1)(a)
                                                                                                                               of
  the Defense (Emergency) Regulations, 1945.
  Details of the Offense:The above- named Defendant, within the Region, starting in July 20o2 and up lo the
                                                                                                                      date of his
  arrest or thereabouts, was a member of - or acted as a member of - an unlawful association, specifically:
  During the stated period, the above-name Defendant was a member of a military clique that took upon itself
                                                                                                                      the goal of
  executing a terror attacks against lsraeli civilians.
  The Defendant established the said military clique on 13.07.02 togelher with Bital Abbas Khadr Abdel
                                                                                                           Fattah, Ahmad Abdet
  Qader lbrahim Aslim, code named "Jukmut,,,and Ahmad Hussein Ahmad Madi.
                   SHATSKY- JD01209-T Date:          30.01.2009 2                                                 CONFTDENTTAL
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 22 of 66




       SHATSKY-JDO12IO-T                                                                                     CONFIDENTIAL

  @:
  Nature of the Offense: Attempt to intentionally cause death, an offense pursuant to Section 51 of the Security Provisions
  (Judea and Samaria) Order (No. 378), 5730-1970, and Sections 14, 19 and 20 of the Criminal Liability (Judea and Samaria)
  Order (No. 225), 57 28-1968.
  Details of the Offenser The above-named Defendant, within the Region, on24.07.02 or thereabouts, attempted to
  intentionally cause the death of another, specifically:
      1. ln July 2002, the Defendant met in Salfit with Bilal Abbas Khadr Abdel Fattah, who suggested to the Defendant
           that he join him and the rest of the members of their military clique to execute a shooting terrorist attack against
           an lsraeli vehicle in Lubn A-sharqiyah, with the intention of causing the death of the vehicle's passengers. The
           Defendant agreed.
      2. The Defendant ancl Bilal Abdel Fattah met with Ahmad Abdel Qader lbrahim Aslim, code named "Jukmut," and
           with Ahmad Hussein Ahmad Madi, and had a planning meeting for the terrorist attack at which they decided what
           assignment each member of the clique would have. The Defendant was given the assignment of driving the
           members of the clique to the planned attack site and driving them to safety after they had executed the terrorist
           attack.
       3. Ahmad Madi contacted Mohamed Harim, and received from him two Kalashnikov assault rifles and full magazines
           for these rifles. Afterwards, Ahmad Madi reported to the Defendant and to the members of his clique as to where
           the weapons could be found. As part of the assignment he was given as lookout, Ahmad Madi came to the house
           of Haytham Khalil Yousuf Qaq in Lubn A-Sharqiyah, where the two of them performed observations and scans of
           the area around the village in order to prepare for the execution of the planned terror attack. Afterwards, Ahmad
            Madi reported to the Defendant and his friends about the observations he had made. lt was decided that the
           terrorist attack would be delayed by one day.
       4. The next day, on 23.07 .02 or thereabouts, the Defendant, Ahmad Aslim and Bilal Abdel Fattah called Ahmad
            Madi and reported to him that they were ready to carry out the planned terrorist attack, and had the weapons in
            their possession. The Defendant brought a stolen Deihatsu vehicle with him to the meeting with his friends. The
            Defendant and his friends went out around 00:00 in the Defendant's vehicle, which he drove, and reached Lubn
            A-sharqiyah in accordance with instructions Ahmad Madi and Haytham Qaq gave to Ahmad Aslim via cellphone.
       b. The Defendant, Ahmad Aslim, and Bilal Abdel Fattah reached the entrance of Lubn A-Sharqiyah and took their
            places at the point from which it would be possible to execute the planned terror attack. The Defendant waited in
            his vehicle in order to help the members of the clique escape afier executing the terror attack. Bilal Abdel Fattah
            hid behind a cement block near the road while holding a Kalashnikov assault rifle and a full magazine, while
            Ahmad Aslim waited near Bilal Abdel Fattah while holding a cellphone, for the purpose of passing on a report to
            Bilal Abdel Fattah from Ahmad Madi and Haytham Qaq about the approach of an lsraeli vehicle.
       6. When they received the report on the arrival of the members of the clique, Ahmad Madi and Haytham Qaq went
            out to the balcony of Haytham Qaq's house, which overlooks the entrance to Lubn A-Sharqiyah from the main
            Ramallah-Nablus road. Ahmad Madi and Haytham Qaq observed the main road with the intention of reporting to
            the clique members regarding the approach of an lsraeli vehicle, so that Bilal Abdel Fattah could shoot at the said
            vehicle and cause the death ofits passengers.
       7. Around 01:20 on24.07.02 orthereabouts, Haytham Qaq noticed a Honda Civicvehicle bearing lsraeli license
            plate number 95-044-06 that was making its way from Jerusalem to Har Bracha on the main Ramallah-Nablus
            road (hereinafter in this Count: the Vehicle), which held Re'em Melamed and Techiya Melamed. Ahmad Madi,
            who received an immediate report about this from Haytham Qaq, called Ahmad Aslim and reported to him about
            the approach of the Vehicle. Ahmad Aslim passed on said report to Bilal Abdel Fattah. When the Vehicle reached
            the site, Bilal Abdel Fattah went out to the road and opened fire with his Kalashnikov assault rifle towards the
            Vehicle with the intention of causing the death of its passengers, and continued shooting at the Vehicle until all
            the bullets in his possession were spent.
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 23 of 66




     8. As a result of the above-mentioned shooting, the Vehicle hit the safety barrier on the side of the road, and as a
         result, Re'em Melamed, the driver of the Vehicle, and his wife, Techiya Melamed, who was riding in the Vehicle,
         were both injured. The driver of the Vehicle, Re'em Melamed, was also injured by shrapnel from bullets fired by
         Bilal Abdel Fattah.
     9. lmmediately after executing the shooting, the Defendant, Ahmad Aslim and Bilal Abdel Fattah fled from the site
         in the Defendant's vehicle. Ahmad Madi and Haytham Qaq were still on the balcony of Haytham Qaq's house and
         watched the execution of the planned attack while observing the surrounding area. Ahmad Madi and Haytham
         Qaq reported to the Defendant and other fleeing members of the clique about the movement of IDF forces in the
         area, in order to help the clique members successfully escape to Salfit.


              SHATSKY- JD01210-T Date: 30.01 .2003                   3                                  CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 24 of 66




                                                                                                                   CONFIDENTIAL
      SHATSKY-JDo1211-T
  gj$h-SJ!$: [in Arabic handwriting: Sixth Section]
  Natureoftheoffense:ProvidingaServicetoanunlawfulassociation,anoffensepursuanttoRegulationS5(1)(c)ofthe
  Defense (Emergency) Regulations' 1945'
  Detailsoftheoffense:Theabove-namedDefendant,withintheRegion'on03'08'02orthereabouts'didsomekindof
                                                           association' specifically:
  work or provided some kind of service for an unlawful
                                                             members of his military clique described in the fourth
                                                                                                                    count of the
                                                with     the
  on the said date, the Defendant met in satfit      alt

  indictmentandwithHaythamKhalilYousefQaq.TheDefendantandothermembersofthemilitarycliqueinformed
                                                         into their group'
  Haytham Qaq that they had decided to recruit him
  TheDefendantandthemembersofhiscliquedecidedonvariouscodewordsandnicknamesthattheclique,smembers
  would use during their activities.


  Seventh Gount (Police File 2093/02):
                                                                                                                              (Judea
                                                               offense pursuant to section 51 of the security Provisions
   Nature of the offense: lntentionally causing death, an
   andsamaria)order(No.378),5730-1970,andsection14(a)ofthecriminalLiability(Judeaandsamaria)order(No'
   225),5728-1968.
                                                                                                                              caused
                                                              within the Region, on 05.08.02 or thereabouts, intentionally
   Details of the offense: The above-named Defendant,
   the death of another' sPecificallY:
                                                                                                  to the military clique as described
        1. on 03.0g.02, immediately after the recruitment of Haytham Khalil Yousef Qaq                                          clique:
                                                                         suggested to the Defendant and members of the
             in the previous count of the indictment, Haytham Qaq
                                                                     lbrahim Aslim, code named "Jukmut," and Bilal
                                                                                                                         Abbas Khadr
             Ahmad Hussein Ahmad Madi, Ahmad Abdel Qader,
                                                                          at an lsraeli vehicle at the entrance to Lubn  A-Sharqiyah'
             Abdel Fattah, to execute another shooting terrorist attack
                                                                           The Defendant and his friends agreed'
             with the intention of causing the death of lsraeli citizens'
                                                                         for the terrorist attack. ln accordance with the distribution
        z.    The Defendant ancl his friends had a planning meeting
                                                                                                                               causing
                                                                      were to fire at an lsraeli vehicle with the intention of
              of assignments, Bilal Abdel Fattah and Ahmad Madi
             thedeathofitspassengers.TheDefendantwasgiventheassignmentofdrivingthemembersofthecliquetothe
             plannedattacksiteanddrivingthemtosafetyafiertheyhadexecutedtheterroristattack.
                                                                                                 gave binoculars that the Defendant
        3. on 04.0g.02 or a date thereabouts, in Amoriya, the Defendant and his friends
                                                            been assigned the role of lookout for the terror attack
                                                                                                                                 From
             hacl brought along, to Haytham Qaq, who had
                                                              clique went to Haytham Qaq's house in Lubn A-sharqiyah'
             Amoriya, the Defendant and the members of the
                                                                         of the area around the village and afteMards they
             There, the Defendant and his friends performed observations
              lefi the house of Haytham Qaq'
                                                                                                        between the two, he received
         4. Ahmad Madi met with Mohamed Harim and in accordance with the prior agreement
              fromMohamedHarimtwoKalashnikovassaultriflesandfullmagazinesfortheserifles.
                                                                                                     Fattah, and waited with them for
         5. The Defendant met with his friends: Ahmad Madi, Ahmad Aslim, and Bilal Abdel
              HaythamQaq,sreport'TheDefendantbroughtastolensubaruVehicletothismeeting.
                                                                                                       and the members of his clique
         6. After Haytham Qaq performed additional observations, he phoned the Defendant                                   fire towards
                                                                Lubn A-Sharqiyah and wait for his instructions to open
              around 23:30 and instructed them to come to
              anlsraelivehicle.WhiletheDefendantandhisfriendsweremakingtheirwaytoLubnA-sharqiyahinthe
                                                                                                                                  rifles'
                                                                        while having in their possession the above-named
              Defendant,s car which the Defendant was driving,
              HaythamQaqpassedontoAhmadAslimreportsaboutthemovementoflDFvehiclesontheroad'
                                                                                                       via the main Ramallah-Nablus
          7. From the balcony of his house that overlooks the entrance to Lubn A-sharqiyah
                                                                                                      Defendants and the clique
               road, Haytham Qaq observed        the main road with the intention of reporting to the
               members about the approach of an lsraeli vehicle'
                                                                               4                                       CONFIDENTIAL
                  SHATSKY- JDO1211-T Date: 30'01 2003
                                            Reference: hlbi29-03
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 25 of 66




    SHATSKY-JD01212-T
                                                                                                                   CONFIDENTIAL

         8.    The Defendant, Ahmad Madi, Ahmad Aslim, and Bilal Abdel
                                                                                       Fattah reached rhe entrance to Lubn A-sharqiyah
               and took their places close to the main road. The
                                                                   Defendant waited in his vehicle in order to extricate the
                                                                                                                               members
               of the clique when the terrorist attack was executed.
                                                                         Bilal Abdel Fattah and Ahmad Madi hid near the road,
                                                                                                                            with
               each one carrying a Kalashnikov assault rifle and full
                                                                           magazines, while Ahmacl Aslim waited near Bilal Abdel
               Fattah and Ahmad Madi He had in his possession
                                                                   a cellphone for the purpose of passing on a report from
               Haytham Qaq to Bilal Abdel Fattah and Achmad Madi
                                                                    about the approach of an lsraeti vehicle.
        o     After about ten minutes, around 00:00, a citroen vehicle
                                                                       bearing lsraeli license plate number 42-142-04 afiived
              at the site while making its way on the Ramallah-Nablus
                                                                         road (hereinafter in this count: the Vehicle), which
              contained Avraham wolansky of blessed memory,
                                                                Yocheved Avital wolansky of blessed memory, and their
                                                                                                                        sons,
              three-year-old yigal and eight-month_olcl Nadav.
        10 when Haytham Qaq noticed the vehicle, he immediately reported
                                                                                          this to Ahmad Aslim, so that he would instruct
              Bilal Abdel Fattah and Ahmad Macli to open fire
                                                                    at the vehicle with the intention of causing the death of its
              passengers Ahmad Aslim passed on Haytham
                                                                 Qaq's instructions to Bilal Abdel Fattah and to Ahmacl Madi.
        11 when the Vehicle reached the site, Bilal Abdel Fattah ancl Ahmacl
                                                                                           Madi opened fire at the Vehicle with the
              Kalashnikov assault rifles they had in their possession
                                                                          with the intention of causing the death of its passengers.
        12 some of the bullets that Bilal Abdel Fattah and Ahmad Madi fired penetrated
                                                                                                    the Vehicte and hit Avital yocheved
              Wolansky of blessed memory, who was ricling in the                   .
                                                                        Vehicle.
        13' ln his actions described above, the Defendanl caused
                                                                            the cleath of Avital yocheved wolansky of blessed
              memory' who was in the sixth month of pregnancy at
                                                                            the time of her death, who diecl on the spot as a result
              of being hit by bullets fired by Bilal Abdel Fattah and
                                                                        Ahmad Mahdi, as previously described.

   Eiohth Gount (potice Fite 2093/021:
   Nature of the offense: lntentionally causing death,
                                                            an offense pursuant to section s1 of the security provisions
                                                                                                                        (Judea
   and samaria) order (No 378), 5730-1970, and section
                                                                 14(a) of the criminal Liability (Judea and samaria) order (No.
   225),5728-1968.
   Details of the offense: The above-named Defendant,
                                                              within the Region, on 05.0g.02 or thereabouts, intentionally
                                                                                                                                caused
  the death of another, specifically:
  Through his actions described in the previous count
                                                            of the indictment, the above-named Defendanl, on the said
                                                                                                                               c,ate, at
  the enlrance to Lubn A-sharqiyah or lhereabouts, intentionally
                                                                            caused the death of the Vehicle,s driver, Avraham
  wolansky of blessod memory' who died on the spot as a result
                                                                          of bullets hitting him that were fired by Ahmad Madi and
  Brrar Abder Fattah, as described in the previous
                                                      count of the indictment.

  Ninth Count (potice Fite 2093/02):
  Nature of the offense: Attempt to lntentionally cause
                                                        death, an offense puruant to section s1 of the security provisions
  (Judea and samaria) order (No. 378),5730-1970,
                                                     and sections 19 and 20 of the criminal Liabitity (Judea
                                                                                                             and samaria)
  Order (No. 225), 5Z28-196A.
  Details of the offense: The above-named Defendant,
                                                          within the Region, on 0s.0g.02 or thereabouts, altempted
                                                                                                                   to
  intentionally cause the death of another, specifically:
  Through his actions described in the seventh count
                                                           ofthe indictment, the above-named Defendant, on said date,
                                                                                                                                at the
  entrance to Lubn A-sharqiyah or thereabouts, attempted
                                                                to cause the death of as many people as he could lvho
                                                                                                                               were in
 the lsraeli Vehicle.
 As a result of the behavior of the Defendant, three-year-old yigal
                                                                           wolansky, who was in the vehicle, was wounded by
 three bullets lired by Ahmad Madi and Bilal Abdel Fattah,
                                                               as described in the seventh count of the indictment.
                 SHATSKY- JD01212_T           Date:30.01.2003 5                                                     CONFTDENTTAL
                                        Reference: hlbi29-03
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 26 of 66




  SHATSKY-JDo1213-T                                                                                           CONFIDENTIAL

  Ls!b-9@!:
  Nature of the Offense: Providing a service to an unlavvful association, an offense pursuant to Regulation 85(1Xc) of the
  Defense (Emergency) Regulations, 1945.
  Details of the Offense:The above-named Defendant, within the Region, afier executing the actions described in the
  seventh count of the indictment did some kind of work or provided some kind of service for the "Tanzim" organization,
  which is an unlawful association, specifically:
  ln Sallit or thereabouts, on the stated date, the above-named Defendant, together with Ahmad Abdel Qader lbrahim Aslim'
                                                                                                         "Al-Aqsa Martyrs
  code named "Jukmut," contacted Sa'id Mousa Deib Shtayeh and asked him to print leaflets saying thatthe
  Brigades," the military wing of the "Tanzim" organization of Fatah that is an unlawful association, takes responsibility
                                                                                                                                 for
                                                                                                                printed said
  executing the terror attack described in the seventh through ninth Counts of the indictment. Sa'id Shtayeh
                                                                                                                             Fattah
  leaflets and gave them to the Defendant. The Defendant, Ahmad Hussein Ahmad Madi and Bilal Abbas Khadr Abdel
  distributed the said leaflets in Salfit while being masked and armed with assault rifles.
  Eleventh Count:
  Nature of the Offense: Conspiracy to commit an offense punishable by more than three years in prison (intentionally
                                                                                                       (No. 225)' 5728-
  causing death), an offense pursuant to Section 22 ollhe Criminal Liability (Judea and Samaria) Order
  1968, and Section 51 of the Security Provisions (Judea and Samaria) Order (No. 378), 5730-1970.
  Details of the Offense: The above-named Defendant, within the Region, in August 2002 or thereabouts, conspired with
  another person in order to intentionally cause the death of another, specifically:
  The above-named Defendant, on the said date, contacted Bilal Abbas Khadr Abdel Fattah and suggested executing
  additional shooting terror attacks near the villages of Shuqba and Ni'lin, for the purpose of causing the death
                                                                                                                           of lsrael

  citizens. Bilal Abdel Fattah agreed.
  ln order to fund the planned terror attack, Bilal Abdel Fattah contacted Nuhad Abu Diaq and asked him for financial help'
  Nuhad Abu Diaq gave Bilal Abdel Fattah the sum of NlS500.
  Likewise, the Defendant and Bilal Abdel Fattah planned to have Ahmad Hussein Ahmad Madi and Ahmad Abdel Qader
                                                                                                            planned that after
  lbrahim Aslim, code named "Jukmut," join the said conspiracy. The defendant and Bilal Abdel Fattah
  executing the first terror attack they would hide in the house of a friend of the Defendant in the village of Kharbata,
                                                                                                                          and
                                                                                                                           his friend
  after executing the second terror attack the Defendant and his friends would flee to Salfit. The Defendant and
  failed to implement the said conspiracy due to the arrest of the members.of the Defendant's clique'

  @:
       ,,|. Sergeant-Major ltzik Shmuel, Personal lD No. *%071, Benjamin Station (collector of Defendant's statements,
            submitter of Defendant's handwritten words in Arabic, submitter of the Reconstruction Reports).
       2.   Sr. St. Sergeant-Major Benny Shukrun, Personal lD No."''7886, Special lnvestigations Team Ofer (submitter of
            reconstruction rePort)
       3. (He is also ET/1S) Sr. St. Sergeant-Major Eli Kujman, Personal lD No. ""6951, Givat Ze'ev police position
            (submitter of reconstruction tape 1002/00).
                                                                     -"""""'7226,
       4. Chief lnspector Dotan Avigdori, Personal lD No.                           Tel Aviv Mobile Lab (submitter of reconstruction
            reports, submitter of reconstruction tapes 3039/02' 3040/02)'
        5. Tareq Kamal Hussein Zughl, lD No.RedactedSSgl lDetained - Prosecution File 943/02].
        6. Ahmad Hussein Ahmad Madi, lD No. R"du"t"d2635 [Detained - Prosecution File 8211021.
                                                  Redacted6133
        7. Bilal Abbas Khadr Abdel Fattah, lD No.               [Detained - Prosecution File 8221021.
                                              Rdu"td6760
        B. Haytham Khatil Yousef Qaq, lD No.                lDetained - Prosecution File 780/021.
                                                      Rud""t"d2628
        9. Ahmad Abdel eader   lbrahim Aslim, lD  No.              [Detained - Prosecution File 29103].
                                                      R"d""t"d
        10. shadi Ahmad Mustafa Abu-Zint, lD No.                 1903 [Detained - Salem].
                                                    R"d""t"d6987
        11. Ahmad Jaber Amin Mahbuba, lD No.                        [Detained - salem].
                  SHATSKY- JD01213-T           Date: 30'01   '2003             6                                    CoNFIDENTIAL

                                         Reference: hlbi29-03
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 27 of 66




   SHATSKY-JD01214-T                                                                                       CONFIDENTIAL


   Police File 657/02
       12. Sergeant-Major Rami Ravid, Personal lD No. "*'"'"'0967, Benjamin Station (submitter of action report)
       13. Sub-lnspector Avi Rottenberg, Personal lD No. ^*""'6899, Benjamin Station (submitter of action
           reporVminutes/seizure and identifi cation report)
       14. (He is also ET/24) St. Sergeant-Major David Benjamin, Personal lD No. R"&""068'12, Benjamin Station (submitter
           of photo boards, submitter of site-visit reports, submitter of exhibits from Card to Exhibits Registry 95/02).
       15. (He is also ET/3) Sr. St. Sergeant-Major Eli Kujman, Personal lD No. ^"69s1 , Givat Ze'ev police position (submitter
           of minutes/chain of exhibits)
       16. St. Sergeant-Major Sarit Peletz, Personal lD No. **"'"'5649, Benjamin Station (submitter of report accompanying
           exhibits).
       17. Dr. Hagai Frankel, tDF (submitter of death certificale + testimonies).
       18. Erez Barazani, lD No. R*"od4226 [the details are in the prosecution file].
       19. Moshe Oved, lD No. Rdudd2BSl [the details are in the prosecution file].
      20. Yonatan Portnoy, IDF [the details are in the prosecution file].
      21. fzion Pe'er, IDF [the details are in the prosecution file].
      22 Public Employee Certificate - Eleanor Lulai (she is also ET/41), Forensic Unit-National Headquarters Jerusalem
           lNote to ofiice: Please contact the prosecution before executing the summons].
  Police File 1989/02
      23. Sergeant-Major Yehuda Sagie, Personal lD No. *""b818, Benjamin Station (submitter of action report)
      24' (He is also ET/34) St. Sergeant-Major David Benjamin, Personal lD No. ^'0""'"6812, Benjamin Station (submitter
           of photo boards, submitter of minutes/vehicle inspection/ submitter of minutes/seizure and identification, submitter
           of minutes/chain of exhibits).
      25. St. Sergeant-Major Ran Harness, Personal lD No. "''*'8020, Benjamin Station (submitter of report accompanying
           exhibits, submitter of minutes/seizure and identification, submitter of Exhibit 2 from Card to Exhibits Registry No.
           255t02).
      26. Sr. St. SergeanfMajor Moshe Lavie, Personal lD No. "*"3260, Benjamin Station (submitter of minutes/ seizure
           and identification, submitter of report accompanying exhibits, submitter of Exhibit 1 from Card to Exhibits Registry
           No. 255/02).
      27. Omil Sawaed, IDF [Tracker - the details are in the prosecution file].
      28. Re'em Melamed, lDR"d""t"d7795 lDriver of the vehicle - the delails are in the prosecution file].
      29. TechiyaMelamed, lDR"d""t"d7213[Passengerinvehicle-thedetailsareintheproseculionfile].
      30. Medical affidavit [The complete witness list will be transferred over the course of the trial].
      31. Public Employee Certificate - Tzion Sadeh, Forensics UnilNational Headquarters Jerusalem [Note to office:
           Please contact the prosecution before executing the summonsl.
      32' (He is also ET/42) Expert opinion (zBl63539t12-o7) - Chief lnspector Pavel Givraz, weapons lab Forensics Unit-
           National Headquarters Jerusalem INote to office: Please contact the prosecution before executing the summons].
  Police File 2093/02
      33. St Sergeant-Major Aharon Aharon, Personal lD No. ""'"O252, Benjamin Station (submitter of action report)
      34' (He is also ET/24) St. SergeanlMajor David Benjamin, Personal lD No. Rd*"06812. Benjamin Station (submitter
          of site-visit reporUexhibit seizure report, submitter of photo boards).
      35. St. SergeanlMajor Yitzchak Yachin, Personal lD No. "*""4010, Benjamin Station (submitter of report
          accompanying exhibits, submitter of exhibits from Card No. 26gt12).
      36. Moran Felix, IDF [was first on the scene - the details are in the prosecution file].
      37. Eli Levanon, lD Rdu"td4554 lidentification of the murder victims - the delails are in the prosecution filel.
      38. Nur Mazariv, IDF [Tracker - the details are in the prosecution file].
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 28 of 66




    39.Dr.AharonRonson,PersonallDNo.-'b3g5,ShaareZedekHospital[submitterofdeathcertificates+testimonyl'
                                                                             of medical testimony]'
                                                      Hadassah Hospital - Ein Karem lsubmitter
    40. Dr. Eitan Greise, Personal lD No. ""b403,
                                                                                        unit-National Headquarters Jerusalem
                                         - Eleanor Lulai (she is also ET/22)' Forensics
    41   . Public Employee certillcate
                                                                               the summons]
                                    contact the prosecution before executing
          lNote to ofiice: Please
    42.(HeisalsoET/32)Expertopinion(28t64145to2.07)-ChieflnspectorPavelGivratz,weaponslabForensicsUnit-
           NationalHeadquartersJerusalem[Notetooffice:Pleasecontacttheprosecutionbeforeexecutingthesummons].
                                                                                                      lsignaturel
                                                                                                Vladi Borodovsky, DePutY
                                                                                                       Military Prosecutor


                                                                                                            CONFIDENTIAL
     SHATSKY- JDO1214-T
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 29 of 66




          Transl ator's
          Certifi cation
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 30 of 66




    LINITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEWYORK
    SHABTAI SCOTT SHATSKY, eral.,

                                    Plaintiffs,
                                                          Case No. 18-cv-12355 (MKu




    THE PALESTINE LIBERATION
    ORGANZATION and THE PALESTINIAN
    AUTHORIry,

                                  Defendants.



                                 DECLARATION OF YAIIIV BERMAN

           I, Yaniv Berman, declare pursuant to 28 U.S'C. $ 1746, as follows:

            1.      I am a professional translator with an M.A. degree in Middle Eastem Studies from

    the Hebrew University of Jerusalem (Israel). I read Arabic, Hebrew, and English fluently, and
                                                                                                       I

    am qualified to translate from Arabic into English and from Hebrew into English.

            2.      I certify that the attached documents are true and accurate translations of the

    Arabic and/or Hebrew originals with the corresponding Bates numbers. The translations are

    labelled with Bates numbers that correspond to the original documents, with the addition of a'1

    T" at the end to indicate that it is a translation.

            3.      To the extent that some of the information in the original documents was not

    clearly legible, I have translated such information into English to the best of my ability. Such

    instances are marked with an asterisk ("[*]").
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 31 of 66




           I declare under penalty of perjury under the laws of the United States of America that the

    foregoing is true and coffect.


    Dstcd: July 25,2021
                                                                   Yaniv Berman




                                                  2
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 32 of 66




                   Original
                       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 33 of 66


CONFIDENTIAL                                                                                                SHATSKY-JDO1 190




                                                     ,:+L--.dl            al3.l

                                                g,1;s..ll3 dJ-,Yl AJ-F 6-.llj-l
                                              4rlt-llj a;-;t.r*/t CJS.Ij Ltrtt i.;t-tyt
                                                                          I ;J'ilr




               ,rd!-                J.crl                  JrtSJlt'rc                          ll*.rs     788L

                                                   O*l,aij"          irit.c {ri, caJnr* dlJl
                                                                  L"{+ l-$ t'l:'rl i;Yg Cllrl o!!{l ,+;




CONFIDENTIAL
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 34 of 66

                                                                                                                                               SHATSKYJDO1l9l
CONFIDENTIAL



                                                                   TO WHOM rr MAY .1riOmCenru
                                                                                                           i
                                                                                                                               M 42562
                                                This certlllcate ls valicl only ll lhe Engllsh and Arablc parts malch each olher
                     ICRC

     nlt \ o 4J'/\
    (            According 10 lhe inlormation receivod fronr thc lsraeli Authoritiss, the lnternational Committee ol lhe
   dVlCl         aed Cross certities thar:




  - rr\ € From:, ...,...,..,,.......


   \yltl,r"rrn"isrodate:                                  AwalingTriat f,l          ,.spnteneed-..8].." Actministrativo f,




                                                                   (Tick the box and undorline lhe correcl deslgnallon)
                                                                                                                                     ( :t 'A'[!.

                                                                                                                          !o d 7-5
                                                          (-                  -,-r!l o*# d/ Jl
                    I   CRC                               *;t+lt, Lty'l;*ilJtt Vut* &U,r iJl' J !.ai JyAt 1rt 6;t('Jl cjr

                                                           .lir
                                                                  --Vr ".*L-U
                                                                                        ;.:.,J1   +ii (LljL-!l crlLl-il ;r ;:-,11;Jl .:L.rlJt Jl bl-l
                                                                                                                                          ilYl ;/-rJl
                        Redacted'r                  1:_

                                                                       g"'; a+rA

                 .1...-..:...-'.,....,   i- . ,.)J- x:                                        V,;4;tr\ll oULJI & u -l**l *.:,lr:6
                                           tr $llrl                   El alt$*               n ;.JL"J! ,b"l*'a :i+.rl'Jl li- d €l-,:
                                                                                                                              : o.rJ grlrl tl6ly*-

                                                                                                                           \-a I   ,-lr-,;-tLl ,J" l*s



                                                                                                                                    AR

                                                                                                                                                  ot(lt




                                                                                                               t                                 SHATSKYJDOTI9'I
  CONFIDENTIAL                             ll'Plf   holonato                  iv.u'i'At.l.r;/i.Al;i,rt;:       t'
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 35 of 66


                                                                                                                                                                              SMTSKYJDOll92
                                                        TO WHOM IT                                    Y              NCEHN m                                4,2862

                                     This'certificalo ls valicJ only il lhe Engllsh and Arablc parts match each olhor
                   IC R    C

           According to thc inlonnalion receivcd {rom the lsraeli Authorilies, lhe lnternational Commillee
                                                                                                                                                                          28
                                                                                                                                                                          of
                                                                                                                                                                             I
                                                                                                                                                                             the
           Red Cross cerlilios thal:

                                                              AIJD};LQrlltlR Allt'irri) liAl,Ajji
           Mr./Mrs.:.........
                                                                                                                                     Redacledg
           From                            si r. rLT                                                                                             i'l--g
                                                                                                               lD No.

           Was arreslcd by lhe lsraeli Aulhorilies on Day:                              ?-6
                                                                                                              Month

           HelShe is 1o date: Awaiting lrial t]                                *$-entenaed-*lll." Administrntivc ll
                                                                                                             t,i1"E Sllli f liil{ll'l
           Lcngth ol scnlencc/adminislrative period

                                                                                                                                                                  A].AA
           He / She was released on Day                                        .................. Monlh                                          Year: ......

                     to6                               (Tlck the box and underline the correct deslgnation)


                          b-         5




                                                                    ,_,)t a*{+ f Jf
                                           4;].4lr, {r.y'1 ,}rlJ! r#bf3 ,,!1U.r ijl'. j Jaii cJ/ll l;1, c)t6Jt o.i,r
               I   CRC
                                           ,r! ,*!r \*L^ti ,*JJrll aa*Ut qjr {LUtYl c,U'LJl ;; 6:rl5Jl.:.,t.$t Jl lrl*l
                                                                     {.*) {' .,.y                      "-s ., l.*)
                                                                                                                     t +. 'r         f"
                                                                                                                                           l          -.
                                                                                                                                                                i;Yt ; I l.!t
                                                                                                 "'
                   Redacted l, r                  "t                                                                      {.,..,..,.,;
                                                           f: a-*
          ..1:...: 1...   . e,- . . .. . :..t... .... ,rt               a,'i
                                                                                                 $ rj'4itrYt .rtl"tJt ,k u ol,)*t s,-:l.ltf
                                n d;l-:l                  E     i/lr(-.                  n i*fl-Jl ,}t'slr&tt, :t+rull li*._i
                                                                                                                                                                    '*l*:
                                                                                         ,,, t-r.{ t {.:.....-l ,..} ...                         6.,t-J g;;l:l )l    ibli"-
                    \aX                                       J(_
                                                                         .*r
                                                                                                      *!.      {      -   - lst d L" / e.-*t - .;-ltt S" I :-:
                                                 (4{*r' i$I c-i        !' cf,l ii,ry:qTit:},F.r-?.*,i:0.                                         ri

                                                                                                                                                  i

                                                                                           i-l             ?', C:' tlli:;                        {
                                     1',] .i),1 ,;r00:i                ;.Lil
         Dsle                                                   '''' " c-l                            Ilr?!?FRrlxit-'(;+rll+rnft{&&}.T... ----- --.- ..';rKtr
                                                                                                          rt{lrr, i{t.'ilLttr-s';                (.




                                lCnC Oolo0ats                                                                                            ia.llt gyrr gtj
CONFIDENTIAL
                                                                                                                                                                            SHATSKYJDO1lS2
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 36 of 66


                                                                                                                                                                                     SHATSKYJDO1l93
CONFIDENTIAL


                               ,r
                                                                                                                                                                                         I

                                                                                                                                                                                          \,

                Palestittlan Natlonnl Autltorlty                                          .ti                 ,{JjL*,,LJ1 L-.;i-"1'4t LJd**ll
                                                                                                                                            i
                Mirristry ol Dctalttcos & Ex'tletaltteos Allalts                   fllrlt';l                dr)|-s"i.ll I s;-1'-'.'!l 1j!-.& 1l;3
                                                                                   Ii,il,,'l
                                                                                       .:.. .i           Ur ,) nlajl., 6,p','J
                                                                                                                                    t,-.1 3   9"3'!'i't'll ii llr'g I
                Gerr. Dep. Detaittees & Ex-tlctaittees                               .,




                                           d$trflrHlf{f{il p1r",.r1 4!l-l1 :rnoJ'tlp'riilf r"lir                                                                       I rYl
                                                                                                                                                     li,toi ,,1;1.,r.1

                                                                                                                 (.llilll r'!al.,rlili't|l         'l "'1l       't!'?"i'

                    "-l  *t                                    {}        I _v                                                                                     it ; i'
                   - Redacted
                            ilt.tt f,"1                      .t.Jl r.J
                                                                                    't lJ
                                                                                     ,_itl
                                                                                                                         q.
                                                                                                                JiJr r.,!l
                                                                                                                                                   : ,r ii '..r'. i ' .

                                                                                                                                                       1,,,'t,.,J] 1", ill
                                                                         .
                                                                                                l-S
                                                                -?'l.
                                                                  Xr,gr"ll
                                                                  :
                                                                                                  I
                                                                                                <.\             / \/<                             :..JhJi 11,ri:i a-: I ;ti



                                                                                                                                :pl*ll *rtrp/at9J" d'Litr, .2
                                                         .ltibll/,'6Jl                                          ,tlr&ll f,ri             .u,rll $_r             dJ';..
                           crl!q!a                                                 6!rll 1llrU
                                                                                                Redacted                                                                    1

                                                                                                                                                                            ?.


                                                                                                                                                                        .3
                                                                                                                                                                        ,4

                                                                                                                                                                            1
                                                                                                                                             :.!.''" Jl (..!1.1'll iti.!t



                                                                                                                                               ;r.,rt.l1 ,. ti. ,'!!1r..-l       1




                                                                             .':,L el'-ll jLil( tI -.di , ,11 oliJ Ct,"!1 t'l
                                                                                                                                                                  ,i:'-i!
                                                                                                                                                   :...tl.!t l. .i, a..,i ,i



                                                                                                                            l.;t''r'! C* ttri;J"l ':'l'r;!'--ll -3
                                                  (af   ;:rt ;u". 'l'LL-; rl,ipl) ifir'l! dlbn'Jl r;!11;

                          rr.--/r:L-!l ;^.9 ul.-ll ;:1s ''"                                           tr^,,,) :-l!( , t-ri t., '\,ilLJl i1 t6 i' 21"t
                                                                              ty ".<, \ . .ii"ll 1 ,i.\"!l ".!.-"!l ,'tr.l;l i
                                                                                                                                                                    Y
                                                                                                                                                                    lJ-I
                            'J1.r              ,:LJl i,il} r i-,tt.^
                                                                              fr
                                                                                                                  I
                                                                                                                                                                     ii-l
                                          *
                                           *
                                          {
                   **               .b>l'
                          o;l.u

                                                                                                                                                                                      SHATSKYJM1193
 CONFIDENTIAL
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 37 of 66


 CONFIDENTIAL
                                                                                                                                                                             SHATSKY.JDOl 1 94




                    Palestirrlarr Natlorral Authority                                .r'                 !jJl'-.*t-ill L1i*ls jll t-Ll--'Jl
                    Mltilstly ol Detahrees & Ex+lolalnees Allalrs                                       691-;.-,*'!1 3,9   1*!l ri -rr*.i i.;11j
                                                                               P,irdl
                    Gerr. De;r. Detalnees & Ex"tletairrees                     '..r:. i     .      ur,rJe..ll3 o-r*!l lrP-t LL*ll 6;1.{l


                                                                                                                                  ;*aa!r$                            .4
                                                                                                                                                  "!l"ii,")U

                                                                                                                                    :r..r! 3."11/,r.?, 1J 1*l

                                                                                           Cre                             :   r.lli Jlf .vL      1
                                                                                                                                                      ..Jl citb-r)Lt
                                                                                                                                    -o


                                                  t                                                                                                          ,r,:
                                                                                                                                                                    i ijl
                                                                          :grilill
                                                                                     :,.\\ l.i /-q!
                                                                                                / t.t^)c--s                               '{rf '.n lr'l.f:l
                                                                                                                                ;ii,,,r.ll,:r.,.-.lli'',1-              r


                                                                  ryi-9iJl-e 6iiJl         r.t1/           I tj                                              .i, , J lll




                             s
                                 ,*.
                                       q*Al.,.,


                         (.*lrlillr LlfU ii,.tL) Lltij.)l ,.itjl ,uLill i-.r-r. ,-'l.L :r;;.-l €1. LJit.-l H               :,c 1.,,r:ll 1 r ar'':. -tl-..icl , I

                                                                                                                                    :,r;illl       r. lli_o.rll
                                                                                                                                                                    ,"ul

                                                                  rg$Jllr g$l                       I                                                        r(*;Hl
                                                                           r-rltll :k"l clc drL-l 't tI
                                                                                                                                         :uts-llj crly.pJl



                        (.r"tytt ; r -Lt!u iu,tL.) Jui")l ,ul ;"$.'}1 L:- urlL :l;ol ,r.1" 6rLl Ll                    :4$iW 0Jr,$l ,rLii,r.l .2
                                                                                                                                    :r.fr."ll eilijnll pl

                                                                                                   tl                                                        ,CiJUill

                                                                           qrlLll :Liiel J* &t-l ! n

                                                                                                                                         :,"rl'.'$l -r d.l -J-!.-Jl




                2




CONFIDENTIAL
                                                                                                                                                                            SHATSKY-JDO1 194
        Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 38 of 66

                                                                                                                                                             SHATSKYJDO1l9S



                 \k/
CONFIDENTIAL



                                          This cerliticale ls valld only il lho Engllsh and Arablc parts match each other
                      IC R C



                 According to tho inlormalion received lrom lhe lsraeli Aulhorilies, lhe lnternalional Committee ot the
                 Fled Cross cerlifies lhal:

                                                     IIOS$AJ'' AI]DBLqAD}IR ARI.IAD I1ALABI
                Mr. lMrs

                                                                                                                        Redactedg
                                                SAT,IIIT                                                                            Z 3_ g
                Fronr                                                                                    lD No.

                Wasarresle<Jbylhelsraeli             AuthoritiesonDay,. ?6                              Month;...... li........ year                     2042

                He/She is lo date: Awaiting Trial f                           __Ser1encert El-               Adminlstrative I

                                                                                                      i'rFE sllNTuNcl
                Length of sentenceladrninisrrarive             period:
                He/ She was reloased on Day
                                                                     xxxxx                                   xxxxx                                    XXXX
                                                                                       .. Monlh                              ..... .. Year: ...


                                                        {Tlck the box and undorllne lho cor€ct deslgnation)



                                             'i'r!                            'w
         '/"
                                                                                                             4                                    *

                                                                      J-.!l A".g i/ Jl
                  lc Rc                        +!ift, ttll,a41,t{ FU!{ ,}U", i,L"; .Lii J.y"ll QlU irl6;Jl rir

                                                :.rir r*1r *!-"!        d;il i'-lll .t{.:; {iljlr}l          .:1,LLJ| 6 a>}2\1.:,LrIJr Jl l:L*l

                                                                       c"+-U .^{ i                     t-J t .g.,c           L*..--r: : L;!t ;/*Jl

                      Redacted\( y ..,1
                                                             frl   o+S^
                                                                                                                                                               .Y
               ..1....'q i.-             ... !!
                                           ,4J .. :.:-1 -- --,,l,J *-Ulr-Yt c,tLul J; V *lJa*.I I c,ltrtf
                                  tr 6-;bl N ;lt#-* n ;.JLJI ,-b."ilr-br :t+rt:Jr ti-,.j ;r^l-:os
                                                                                   . i.J'j I .ir.,,f'.-:': .... : 6-r*J g;rrrt st ll.r*n,
                 ..... V.........f". .   c- ......-...Y-..... ....{........ *t                                           ,/ t l t-lr- 5J,b1 u^ I *s
                                                     (Ulalliii,lci                                                     Jtl

                                                                          I
                                                                          c           23 -
               Data                      ?t-0q- 2003                                                 Place                 SALI'II                    .. ....., ;rtftt
                                                                                 lernalionar u.,, rill!11{:ne Fl
                                                                          Bi; ol the Rect C rosEl C
                                                                                          q    '!f      - ju^,ca7s
                                  ICRC Delegslo                                                              1..   ... ..... bJJl v:-rr gJr
                                                                                                                                                                         SHATSKYJDO1l95
    CONFIDENTIAL
        Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 39 of 66

    CONFIDENTIAL
                                                                                                                                                                            SHATSKYJDO,!lS6



                                                                                                                                                                                   \
                                                                                                                                                                                   \,
                   Palestinia n National Authority                                                            ;i*!L*J-il! L-*i*j rJl L-.Ut -,;t
                                                                                                    ,t.
                   Mlnlstry of Dctalnocs & Ex-tlctairreos Affalrs
                                                                                        '|,;irg       ',     ;;_p-rcJl3 6-.,;l*Yl L,3l -,j, d.,1ljj
                   Gen. Dcp. Detainees & Ex-detainees                               . .' .,.. ri
                                                                                            ,'. r
                                                                                                           g;.l.pJli .rj-il dJ.J*tlLt :t ;lt.r)t


                                                   dlirrllrUflglrt ft r.r {ld ,ietitiriil,$tb                                                                              7ss t
                                                                                                                                               r.913i   *u!.1
                                                                                                                 ht$tl .r" {riti!.dJg) :i-.r;Jt t"lb i_,r
                                                         a        o         q       \                                                               'i.lt:l-'ri,
                                                                                                                                             :,Lt.")*l .i:lt ,'i.'
                               ,-LLlt
                                          l*l                    r'll a-l               -,\! r."l
                                                                                                     \t

                                                                                                             {tJ
                                                                                                                                                 :or-!1ll ,. -'ll
                                     .\                               ^9tt          2                            f' *
                                                                      :q,;.ult                               v                             :,,,ll,il,.r.rij arr JU


                                                                                                                            :1:!r.:ri ;rt-Sr..ifltr .r; ,itjtl   .   2
                             {:rlll*)L
                                                                                               Jti         lqoo*i                   .,"!.l,lr aEl        J'rr'.ru
                                                                                             Redacted
                                                                                                                                                                     1

                                                                                                                                                                     2

                                                                                                                                                                    3

                                                                                                                                                                 4


                                                                                                                                   :rrslt sJtall &Jf4Jl


                                                                                                                                      q,lL11
                                                                                                                                               arid
                                                                                                                                                       .3Ui*l.a


                      t++lll* .1^.51 ,:**                -1;} gi ;rr rl (:L,LJl ,jts ;i, .1..r1 I ; ","ri grl, .i                                       r.1l.,p!l

                                                                                                                                          .-JLll pn" g;t.fi


                                                   (!:lr.tl .;,1.r i,!Jla3 rl4:el) ifiJtr.lr iilr.i:*Jl +llr tr*trl g; :i{fu.4tr *l.ui*lt .3

                                           I ,^.!l .:.!,t. ^rr rrt(.,i      t--           -/ 5+*s iJL( I ..', 1o, ,rii^-,.11 i7 g -,_s1.^
                                                                            --'o-
                                                                            g/'
                           l.Jq.:'              crl...Jr tlLtr i;1*
                                                                                           f4t;Jtt                 riil \/-!t &.ilr :t^,,,i               a>
                                                                            tr
                                                                                                                                 {1."} 1;;il

                                          1
                                          $
                     tlq




CONFIDENTIAL
                                                                                                                                                                         SHATSKYJDO1lS6
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 40 of 66


                                                                                                                                                                SHATSKY-JDO1 197
CONFIDENTIAL




                                                                                                    :L:J*-J-ill i-'ti,--h ell ;i"'"111 *"-ll
               Palestiniatt National Atrtlrority                             r..           .ij
                                                                                                                                                 5-;!i3
               Ministlf of Detalnees & Ex<letainees
                                                           Af{airs           li',fti               4JJ-JIJ,9 i-uYl,.,13i'--"1'
                                                                             ili ,r
                                                                             I "a. "'t           g-r;.p-all.9 ,3y"Yl ;33,;J Lt'tt
                                                                               '..:i -.r
                                                                                                                                  ;-ltltt
               Gett. Dep' Detainees & Ex'detainees

                                                                                                                             :o*.;i!l jUuU*>L! '4

                                                                                                                                   .ibJ"JV*.i,/ f-l
                                                                                                                          rlb9"rl/ d,d         d,Urir
                                                          l--^-p                                                                                 :ru lul
                                                   )                    ,.rri oilt                   \ I
                                                                                                 I iCr
                                                                                                                                     r!.;auJl .,gr" P*l
                                                                                                                            :!rir^Jl '1;rr *l!r)L
                         I                                                            t"b / +l
                       t#
                                                                                                                                                 :ci_Jur
                                                              :g+ftttf ,"ttt

                                                  ,d
                                                                                                                                  i,lrLa"Jl g ll,iie'Jl .5

                                     *-   *
                                                                         L!. , .tL :!rc
                                                                                                     _.,
                                                                                                 J' LJibr B      I
                                                                                                                            ,.s   f*lt 6jg' rLnsl .1
                       (;*l Jill t ,*tntJl i!11".) JIi; Y ot-f,i d":u
                                                                                                                                    u:*J cilgll P*l
                                                                                                                                                   lu rtrJl
                                                               :g*r,ltr fi.tl                      I         I
                                                                            ,,'l}.\l rt ii,;l ,.lt .J.L-i Y tr
                                                                                                                                      :,"rl+*tlj ':l.JJ+tll




                                                                                                                     tr   :q:j,itirJt rJ3!#1 'tLa:c| 'l
                                                                6Lill Ls trll
                                                                                                 . -1"   ..!:1"-1
                        (i*l dr t {^l:r$ iiru*) JLrs Yl                                                                             :r.:ull uihll ,'-l

                                                                :gtf,ltf ,'ri'tt                   tl                                              :i3-,rlil!


                                                                              .-J!Jl :L;l -i" 3:L"1 Y lJ
                                                                                                                                       ;'1tt.*l j .:il lYolt




                   2




                                                                                                                                                                  SHATSKY-JDO1 197
  CONFIDENTIAL
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 41 of 66




           w
  CONFIDENTIAL

                                                                                                               ERN N! *2,862'
                                                                                                                                                   SFIATSKYJDO1lSS
                                                     TO.W OM IT                                 Y       o
                                                                 .1 .


               I'GR C                 Thls cerllllcate is vatlc! only if the Engllsh and Arabic parts malch each other




           According lo tl.re inlormalion receivecl lrom the lsracli Aulhorities, the lnlernalional Commitloe of the
           Rect cross certilies that:

           Mr. rMrs. : ... .                      llossAl'l ABJELQADTR All'tllr I{ALABI
                                                                                                                      Redactedg.z3-g
           Fromr                            sAi,lli:                                                     rD   No.
           Wirs anested by the lsraeli Authoritios on Day : .                         26                uontn: . . . 11 ... ... , Yoar:
                                                                                                                                            2A02


           He /Shs is to date: Awaiting rrial ['-]                                                            Administrative []
                                                                              --$er:teuce{Lfi-
                                                                                                        I,IFE gENTENCB
           Length ol senle nccladminislrativo poriod:

                                                                        xxxry ., '                             xxx${                     xxxx
           l-16 /she vvas released on Day: .                                              Month:                               Year


                                                      {Tick the box and underline tho corecl dssignatlon)




                                                                                  Ir *+

                 I CRC
                                             t!+ft, !y'l,IdJl{ Virk ,i!,t iJl' ; -h.i, rJ./lt qru tu\.:Jl oi'o

                                              :.r! r*!r      *-Lrl 43"r1r i:ortr tr:; rqillr*Yt c,U-LJt ,r,3:)jl .:,uy'Jl *!l trL-l
                                                                          ?Y *rI ../2,l| ':* ( f::-o :i;it ;IJ==J
                       Redacted f cY -1                                 qJt                                                                      F
                                                            1*r.l
               q.<                             \l                                         . lr. ut +U\l-Yl ;U^LJi ,F a '-/Jtnl 'ri ':l'rlf,
                                                           ,+t                -
                                     tr c5;1':i             N ;tusd                       tr IJLJI ,.Ju*.l'Jc*" :-{rLJl li- j ,/l-l;:
                                                                                          D t*-l t                        ..,. : ;tJ $;bl .rl 6lf6s.,,

                        .x ..... x                    >a           t(         .*,     .     ,
                                                                                                                         i Lo/el * iLLt -^l *,
                                                                                                                        €-,-r-o\:rt

                                                     (ay'Llr i.!dr.i^*        b gj\                                 rtelll



                 llt                      2t ,09..2003-                       ' r.l
                                                                              cr-'                                     . .$-Al,.l'rr               "itKlt

                                                                                                (       :-"J^       cL.rA,J


                                      ICRC Delegate .....
                                                                                                                     - - lr-Ul v;* 6l/
CONFIDENTIAL
                                                                                                                                                S}|,ATSKYJD01198
                                                                                                    0
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 42 of 66

                                                                                                                                                                               SHATSKYJDO1T99
CONFIDENTIAL
                                                                                                       i;                              /
                                                                                                                                           /'{('L r',\
                                                                        Iq-W!cM- tr ruAv .$oncenm Ni 42862
                                                                                                                                        oach olhor
                                                           This cortllicals is valid only il the English flnd Arabic pans match
                                       I   eRC

                                     According t0 the inlormation receiv€d trom lhe lcra€li Aulhotitlss,
                                                                                                                        the lntsrnational Comfiitt€e ol lhe
                                     Rad Cross certili8s thal:

                                                                     tlo$sAll Alllllll,QAl)l':R AllHAi) tlALAnI

                                     -t-roill:   -.
                                                                sAi.rrr                                           ro No. ... lYu.a?t-:n


                                     Was areslccl by tho lsraoli Authorities on Day
                                                                                                 26            iltorth; . ... .   ll.       ........ ..   vn.,
                                                                                                                                                                 '
                                                                                                                                                                     ..".'.10'9J


                                      He/she is lo dal€: Awailing Trial fl                 -.'-$a:ieocsd-€i* Administralive n

                                                                                                                                                                      xllxx
                                                                    Day:            xxL11 .           Month " i:'1":"                             Year
                                      He/she was reloasod on

                                                                         (Tlck the box and rtndsrlins thc correct designatlon)




                                                                                      J-tT I a*e., '* J1

                                           I   CRC                t;$fr, L.ll q4tl\ Vlt-r t'& IJIP si 'Lii $dt r'-ru" ir!:Jt c'trr

                                                                   :.t! r-!t .J"riJ LlJjJl L?"lJl +ji riJllr-Yl ':&ul ;r 6:.1!ll ;'l'$t                                     Jt bL:^'t
                                                                                                                      1.....::::... ...{]   }                         :;1r ;1.1"!-t

                                               Redacted;tr \ ,-\ :                                                          o--...,.L. -.:,?"                                      i.-J
                                                                               s,_i i,r,

                                                      i!        .....i1 ,+i          . L..}....... ilt !./ 4U|,-Vl c'lllJt ,b t'r -l',j*l"r; ':'/'rlf
                                                           [3 sr;l.J I              tltJ*,' n iiL'Jl J.:rl J*'" :t-'JullL" g otl-t:
                                                                                                                                                   : ilJ         g,2i.ll )l   tk$*


           i

           t
           t
           !

           i
               i
               i
               l                                                                                                                                ,5AU'lll'                                 irt(lt
               !



                       $unu i'*'t11{lilfClf.t'*'-'
                   I
                   :
                                             t
                       l                   20 -Ut'2013                 'i.
                                                             fi
                           I
                               '   "'"ilill:';i'J.?lilll'.," c
                                                                                                                                                                                      SHATSKYJDO1lS9
  CONFIDENTIAL
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 43 of 66


  CONFIDENTIAL
                                                                                                                                                                                                      SHATSKYJDOl2OO


                                                                                   '3
                                       \                                                         '. lr'-)      \-1
                                                   -t ??,\
                                                                                                                    t4rk-..,'t..-lti d ri-hrll I J'l                               'li
         Pal6stlnkrr Natloltal Authottly
                                                                                   5                                3";1-^"113 $)-':ll1 3e-&
                                                                                                                                                                          illi1
         Mltrlslry ol llelaltree s & Ex-do{rlt

                                                                        ro0s
                                                                                             r$fu              dilt;Jl-l d ;u,!l L,rJ'?'l ;i-'1'"'11 i ,1l.tJl
         Gelt l)e11. betnlttces


                                                                       ,l,f*irllrglt l1t+*rt

                                                                                                                                                               :i 1t i.-ll ,.i           r




                                                                     :; j.11!l g.2t/fu           ltJl         tr' l3lz.l                           irLi.,,tl iirn'j 11l-rb


                                                                                                                                      :   l-,11 :{:.*.rl y'l uL..t\"-'ll . l
                    Redacted                                                                     q                    s
                                 t-..       ..,   L-.-.
                                                                     .rJl 1,,1                                        L!ji! r. ''ll
                           1!9 r:l
                                    LrJ-/   -                        ,^9 '                                             f l---4o
                  Jn -* ,t#                                                     :1u,irJl
                                                                                                                                                                  .1.r.
                                v-2-/
                                                                                                                                                                          11

                                                                      rirl.lll gB-.t
                                                                                                                                                                     ,r        i
                   1:1c crl,J;r        [I          . ,r--   tI        p1l:'' Ll            (-q




                                -,:..             y                                                         Loa L1 tr I 26
                              -JJt b----                             rJtti.ll ;trl
                                                                                                                                                           ,tri-.l1                  -r|
                                                                               ,. l.,l U                                                                                       I
                         ,r-ril U                 JJ'"      ll                                                                                              '.'

                                                                                                                                                                  .^" ' i'' ,,i
                                                                                                                                                t'-q.lt i-r.
                 ti.lr       Jl':'ll        iJil            $;Jl 6l-/tlit.!:
                                                                 rlrJl -,f-1i
                                Redacted                             . tl< .Jl
                                                                                   6".:ill
                                                                                                                                                                          illli."r. I



                                                                                                                                              ;firl.-,i tJlL;'ic"'il 3.r.t\11 .')
                                                                                                                                                    'il ,'.1 ,
                                                                                        r.-trL- lr!4.1 t: riiJl J'r! ,..:/)/:)*.-,t;.1 ..li {tr.,ii
                              't .$l ,Jl ,l r.r'!l rlr L,-J 11.,,1..;ir.1
                                                                                                                                                  jl.: -. .{l i,, ,lr               |'r      ,11

                           rrtLr:Lt                              Jht'.Yliu                           61.!ll s;.ft      Jt{i!'tl | ,1
                                                             l.t.r       _ra
                                                                               U       I.rl




                                                                                                                                                                                              "5

                                                                                                                                                                                              .(j




CONFIDENTIAL
                                                                                                                                                                                                    SHATSKYJDOl2(X}
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 44 of 66


                                                                                                                                                                                        SHATSKYJDOl20l
CONFIDENTIAL


                                              t!



                      Palasllrrlarr Nailorral Arrilrorlty                                                ,tr.i:h--.-l- -l.ll L.r;- L a!l .i
                                                                                     ,,.,11,1 ,.                                                                        t,t_.,,,r1
                      futrrlslry ol lJelal'r0es & lir,drlalrrees Allalrs
                                                                                                        efr;.f-*.ll.r d l, ,,jl iS I'S ,', i, i )l
                      Gert be;r. betaltror:$ & Ex-rletilfureas                       ll,rffi$
                                                                                                     cl-.r-,rJl.t Lf JU,YI nJ!.,11 ,i.1,-ll i,,i.''/l


                                                                                                                                     i.,re l.ai:.1J1
                                                                                                                                                        at,,h;lf 1:11]l;; . !
                                          ,J"rl U                        u,           I JJ." ll                   ,r.rr-llt                            :i:nl;1.Y1 .1.16-11

                                                                                                                                                     :;fi. ili., :ill. q,i
                                                                                                                                                   :6fg.1jll ,i.1,rr
                                                                                                                                                                               11_1


                                                                                                                                                              l/; 1 llr 1r,l
                                                                                                                                          {> jlll Lr-t plirtl tt,Lit,r
                                ,,-^tdl   ,If,l           t. Lr1,Jl tlL.il           $l;,rll[;_1lr
                                                                                                                                     f,,rJl
                                                                                                                                                                        Jn
                                                                                                                                                                                 .t
                                                                                                                       a---
                                                                                                                                                                                 .2
                                                                                                                               'l                                                  '1



                                                                                                                                                                                   4

                                                                                                                                                                                   li
                                                                                                                                                                               .fi




                                                                                                                                    : ',1,      ll \.. rrl           r .r ..       I


                                                                                                                                                           rr, 1,.'r\ .i.,
                                                                                                                                       .....'':,tt
                                                     :fuI;ilt                                                                             ,"il'. 'lt ,1" .!l -..,1
                                                                                                                                       .
                                                          :{Jirsll i,Li.)-, ;r.,                                                                           iili,, r1i ;,,,r.;
                                                                                                                                                  9 , tl
                                Redacted                                                                                                .:::r\7
                                                                     r.rqll                   Redacted
                                                                              Jt                                                                                        :r'li"ll
                                                                Redacted
                                                                                                                                                           : .J , ti 1..
                                                                                                                                                                     .i ,
                                                           r,Jllilf r,ittlJl $.1              Redacted                                        rr.. .-.i 11   ' : ri I ;i li.r
                                                                lajlt".)l i.o:ll                             r ;t l   .il-. ., tl        Lr:l          rl. ll,!l
                                                                                                                                                                     , 11,,i_f,

                                                                                                                                                                 :!'ll l: \:1. t




                                                                                                                                          ;qr.||rl p.ti Litli..)l-,
                                                                                                                                                             '

                        11   ;11j.," J".:11 f-.,." .,tttt .'.1 ;r,/;11 r:,L1L.Jl .1j1"5 ;!, -*-;l_' ,1; .1.l:1
                                                                                                                 tir"I Ll                                          : _rl.; _i1

                                                                                                     I 4"9             'ir:                     :..Jlll,..ri., i.rl1i

                 a
                 1_




                                                                                                                                                                                          SHATSKYJDOl20l
  CONFIDENTIAL
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 45 of 66


 CONFIDENTIAL
                                                                                                                                                                                                           SHATSKY-JDO12O2




                                                                                                               [rirb--,"t--l'll 'i---'r--'lr n\l
                                                                                                                                                            'i l'l "\
               t'alesttrilatt Natlurral Authotity                                                                                                         I q"'f il rl i3
                                                                                                               Lp-JJ*--Jlj ,r.l'.-"iit ''1
                                             & Ex-rletalrrees Allolts
               ilitrrlstry ol betalrrees
                                                                                     ltffi                41.11"-tlj ic-1,',rJl ;3-9'l;'1
                                                                                                                                                         t"t'll ;' Jl"lil
               Gerr   Dep' llgtalirees & Ex'tletaittees
                                                                                                                                                                                     .5
                                                                                                                                               **'.sll Jr-"'i.tu
                                                                                                                                                :   LlJl-t ^n/ -r..3,.1.J1 ;,,1

                                                                                                                                        :   urlii Jlf rJ,;zJI Lrll'**r
                                                                                                                                                                            :gdrll
                                                                                 r,lJl rill
                                                                                                                                                        ).;.11r^.11 .r.tr^           ;-l
                                                                                                       ,;l
                                 "r.*lL' r.J I
                                                                                                                                 --;i;:,r "';;"'"''"t
                                                                                                                                                                             :   i, 1 .f-ill
                                                                       :   -t-ll r'rll J FNr          rett/ 3l to
                                                                                                                                             l'1 ^'1'                   "iril "'\
                                                                    1r,.11:La3
                                                                                           lt'll;l) dirtJJl u'l'til'*Jl '"ilsr6ll                        ':'1;\''l!


                                                                                                                                                    rrrr n l'      -                K
                                                                                                                            ,--"\tl p 'Jl
                                                                 lt ;JJ-
                                                 rrI,Jl    trl

                                                                    t.jY
                                                                             -*d-                                                 ,.--tJt ,.,r:1,..11 ':-J
                                                                                                                                                              ilr 'i'               R
                                                                                                                                                                                     LI
                                                           iq"ll                                                                       rr; .'t) ,!^11 -,1 ,,i
                                                          i'lLb;.,11;                                           4-:" -rt                                                              ll
                                         '-r$rll -LJl                                                                         l'i-r'a.o L l-, ill :,io i;.t,'.
                                                                                                               ,l-!l   .ltL
                                                                                                                                                                                      Il
                             1
                                                 ,\ll c,lr\-l "l-t'-                                                          e:t+r-lL] .ij ijiL;l u-l'"
                                                        r-u) u;il

                                                                                                                                                      r.Li-rLarll j'rL':ie'Jl'0
                                                  {
                                                   t
                                                                                                                                                                                  rl-up        1
                                                                                                t,l              g L- .9.rL.l    u                  d J.itl [J-t
                                                       Jill l
                                                              lJj!o ,tjr\L"} -u"lrll                   -lLi.
                                                                                                                                                                       11   1.rtl-qJl 1..,,1

                                                                                                                                                                                       :lj'r j:ll
                                                                               ,ut J{l 3 {-1rx
                                                                                                                                , r,l
                                                                                                  -l .rl;i"l ,lt' rl )L.-1
                                                                                 -'{-tJl                                                                      ,,..r, i11 n q-d 1,r '.I




                                                                                                                         jjt,.^l I I
                                                                           i-iru-) J{-{Jl r ./-ii,l :l-iol *lc.
                                                  (i*lrat J l-!;!U
                                                                                                                                                                                                   t.,f
                                                                                  :.u1 rill J*rll                      tl                                                                  'i,.,

                                                                                                              6rt*l t tI
                                                                                    .;g.tll ru-l
                                                                                                  :L,i!"1
                                                                                                          ".L                                                    :,,,1      :-lll j ill.1.rr'Jl




CONFIDENTIAL
                         1
                                                                                                                                                                                                          SHATSKY-JDO12O2
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 46 of 66


                                                                                                                                                        sHATSlffJDo1203
CONFIDENTIAL

                                            TO..W OM                      'MAY                     N EFN                 Ni 42862'
         \w/
        FIT.I/9
                            Thls certltlcale ls valld only if the Engllsh and Alablc parls malch each other
          lGRc


        ,{ccording to the inlormafion rcccived lronr the lsraeli Authorities, lhe lrrlernalional Comntiliee ol lhe
        Red Cross cerlifies thal

                                        }IOS$A}1 ASD"LQADER AITHAD IALABI
        Mr.lMrs.
                                                                                                                 Redacted;2 3*9
                                  SAI,IIT                                                        lD N0. ..
        From                                                                                                 ,




                                   , ,^..,--,,.,*-                        26                    Monlh
                                                                                                                  1t             Year
                                                                                                                                             '2002
        was arrost0d by lhe lsraoli Authoritics on Day:

        HelShe is to date: Awaiting ]'rial r]                                                          Administralive I
                                                               --$enjcncfft-SJ-
                                                                                               L:Fg $ENTENCE
        l-ength ol senlcnceladminislralive         period:       .




                                                        xxxxx                                           xxxxx                             x/Jx
                                                                               Monlh: ..                                 . Year
        He / She was released on DaY

                                           (Tick the box and underllne the correct deslgnatfon)




                                                         d)l3g-,r-rJ
                                  t;tiVt, q{llq:rltr Vll!,&U.r ;Jl' ; .Lai Jfill 4rL irtpJl oll
          I   CRC
                                   :.r! ,*!l       .- ,L.o.U *^13-rJl ia.lll {^ii r;:U\l-)r ;t'klJl u,, i:.s:r}l iLJrJl Jl i)L:^'!


                                                           *              *r i z)a l *                            f *,:f                : Lilr i/ j=J

               Redacted \. y ._1. ,
                                                   ,*r, ,r,
         c,.< t*                        \ . .. #              c -1
                                   .)                                           lr. .J grr-Yt .:,l.b-lJt )+ g c'lSant r; ;lulf
                          n d;rrri              E ;1a$*. D iJi'Ji *tl$-"                                               ;a-{ruJl
                                                                                                                                   'L ,/ g^ l-e:
                                                                           o .bl' . #'/-,                                : irJ d-ll.:l ;l eb$'e,"

         ...... X..   ..x. ir*             .x.....f. . *a;--"r-",;.,1j , { l.* d L" lu\r *t,el*t
                                                                       t"
                                                          .orar **        r**,'
                                           llll ;eitr * -tejr.: rr.:Sl{d}r
                                                                      _
                                                                                j , gorh}rr
                                                                  /;it
                                                                                   r ill   '




         Dsrs   ..... ... ......l?t,,09'20Q3'                 -,ujt                            Placa                                                 at(lt

                                                                                  o{J
                                                                          a
                           ICRC Dclagats                                                                         .. ijr-Ur v,*    g|                         SHATSIffJDOlz)3
  CONFIDENTIAL
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 47 of 66


 CONFIDENTIAL
                                                                                                              SHATSKYJDOI2M




               Redacted                                 ]'t' ft t :t''t i,7 ?a dt:b
                                                      i'i
                                                      rvinw unfifu. riiwr,ln
                                                                               Hl#
                                                      .   ."i f,''' ,'l; .',".'' i .:t'.f "t: ,'... ,.,,,
                                                          .'i:':::;!.,i;, ::,i;
                                                                                  ;i^ : lll :: ;:;j:::li,
                                                                                                1,,

                                                     "'



                                                                                         )   114        i;




                             Redacted
                                                                  Redacted
                Redacted
                       I \gvqwtEu




                Redacted                                  Redacted



                Redacted




        Redacted
CONFIDENTIAL
                                                                                                             SHATSKYJDOl20{
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 48 of 66

                                                                                                             SHATSKYJDOl2O5
CONFIDENTIAL




                 Redacted                                I'J1 't(tt"t 7j117.Q
                                                        'i.r                        i
                                                               &il iy,tui'c,c L' C ut r n         ltll
                                                       ,tt4'+tit.i,   aa- - :   .   ;..J;t   t. ) t[,ta,,:
                                                       '1'."i,rr'tj. I t'iltr   . v&t.\r, trt -.ttt't)




                       ed acted




           Redacted
                                                                                                               SHATSKYJDOl2O5
  CONFIDENTIAL
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 49 of 66


  CONFIDENTIAL
                                                                                                         SHATSKYJDO12()6


               Redacted                                ',,   i:;i ;iiii:ai.arm'n            llf
                                                        :.!n . r.-..!rrt.,.r\tl, r,y,'./!...,rt."!
                                                       .-     t-- i. -1'r".',,.',1t2..1rr,.,f'!,'.
                                                       ,J^tt!t i<t\ tigtil$      . tlar"!,, Itltr),t
                                                       .riar.{iJvf tittart . .lrtY,t ,tt ,ut}




                                       acted




                 edacted
CONFIDENTIAL
                                                                                                       SHATSKYJDO'206
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 50 of 66


CONFIDENTIAL                                                                                                                                                         SHATSKY-JDO1207




                     h                 ,
                                                                    1i'rl9n
                                                                                   s
                                                                                   tt1:    ttlru
                rn                ,)
                                             irrnr
                                                                                                                                tr!7r6 nr:.-                 1l:t)
                                                                                                                 fl/,lt/               nxr.n I

                                                        nrln          ltgt(             -*
                                                                                   jlri)!il              :tr.rr:r
                                           {L-                                                                                               lr0xi          itr:'f
                                                                      *L:
                           t                (- ()              -.



                                                                                                                                                        :r)n:ian

                                                                                                 ?

                                                                            p              /t/                          il 'tl : tlI        i't',: t I tl   t ,, Y.5




                                                                                                     {

                                                                                          &1rL                                                                         't.,
                                                                                                                                                                       vz-



                                liJ

                               rl)
                               I --(                                                                                                   11   'Jr'l




                     1\/                                                           (?              .t         ,2//" 4
                         xJ                      7tf7         :tJ-l                                      \
                                            --Le
                     a,')                                .t         -z,f-
                                                                            l'|'
                                                                                   .,rJ'7                    it:'.1t1 ;r\J;::nD:.r -rtrvJtr:l




                 ,11!&': r!|lri! nFijt                        ]tm


                                                                                                                                                    *       6/i        SHATSKY-JD012o7
 CONFIDENTIAL
      Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 51 of 66


CONFIDENTIAL                                                                                                                                                                             SHATSKYJDOIz)s




                                                 ,r i   :.-r.i'r.i:,111
                                                                                                                                                     l;\ :'t ); ;'r 1,', :ltrr:t'l
                                       .j(!.,l
                                                        i'ii, : -l ' ' .'1 ij I
                                     (rl / !u.l               ,:.:.,,', ;,.il
                                                                                                                                                     )lt
                                '.
                                     ''rll i 'ti ?
                      it:.-, i:l ;0 i:'/il




                                                                                                                                           )tl.'J)'t \,f,1 1.1 ;.::V,,
                                                                                                                                                                             l)!Ult:1




                                                                                                         ( ';ri,- 15;1" ,"111)rt;1) r.1!n "r.nnfl
                                                                                                                                                           1'1Nilty Flttrr;1
                                                                                                                    rr' irl'u :'17131 Redacted;* -,.rt     **o?l :c '. .:
                                                                                                                                                   l$ ;.i^0: t):)r-. .:,1J.,

                                                                                                  .l
                                                                                        iX r. ,/-! :,;      r            .fl ,r
                                                                                        .-...-:_.._  :: ...,._- j..:", j,l*.1_



                                                                                                                                                               '
                                                                                                                                                                   ll:{,-:J : _rJ":,t
                ''';"'.'i:: .:i'!r';.::.-. ,il;::1 .i.                     .1"1)1pl
                                                                                       .g1_rr,         - .: .i,ri.;i-.!-,,h-i..,.-r;;111.1,:i.l.i::(t,i.r.,,i!N
                                                                                                                                                                -11i.rr1
                                                                                                                                       :'rcS ,iurrr:l' :].;il"i.:'.:- ':
                 -'^r.r'.":
                             ;.': ' ,-,J.r;r.. i:": .':jl .:fl:.rt !..:.i !.....,,."
                                                                                        - l,i.-: ,-r.....,.._ i:.,:n U,t:,!:il :.,rrL.pii lrt,.i
                   i:'r:i':: 1:j. .,,;:
                                        ,.i.:r  -;1.il:t.,i,,,or,      ,-,r,'r,.i,: - .,.,".:;,j,",1:_T:l::]:'r.:.,,r:;,:,
                                                                                                                                    .;ii.f :;;:;;
                ''. 1::r.. :".\ irr,"lr;.r              .r,|,lr                                                       ,i_iil.,l,;;r-;
                                             -r.,. :j,i         rrlrrtr:,i,!:r,-r ,,,.,, ,,1 ;; .;rr-,,,:l: i.li;
               " rl. ,]'":t' ;l'.:::':,.ti.,
                   ..t                               "n'   ili)l(.':  -r1:':;'it'&' .'ii-ii;1 'l:) ii'.:.1:rn :i:.:';:-;,;*:,            i.;;
                                                                                                                                     i.r) r:.:r:,.,:,
                      ..,, .'.:: .;,;',.,,, ,,i.,              ,l;irli,,tti;;;,;'i.;l;;;;]r,i:]:;*:;;;Xr, ;:.i:1;::.
               .,,,f, 'jr,'.r:..        q,.:,1.1 .,: .i.tlli
               ',!.                      ""i.                                     ,,t; n,,,,...r,,,_1.,.r, T:nrl:: .i..,,-,rl.,,r,,n-i,*,fr,
                                                                                                                                                           rr,.t,:r\:.r:;l
                ''     ' ';:""' ' - - '':'!t:'i""''
                                                     :'1.]_iti
                                                                  -:r:f,rl ii.: "..;";1;;;
                            ii:;'r_r .:','.-:: ?,:.,rr.1r.r,i..i)nLr,1.,.i;-
                                                                                                                          1;;ilru,i:1;:;;;.;i; ,;.
                                                                             nr;.,;i1i,1.y,-.;. .,i-!!lr.r,1 .                        l; a:.r1r1:..1u;:..,::.?N,i!N                  ,




                                                                                                                                                                   r:Lt.lZ:g
           'i')',f          ii)x: -,nL1 .-\ila.r. t::.1: rs! I r.1r1r,..1:, it..t_.:!),,lrr.1n:"n
                                                                                                                                     llryf, _tntr :n.rr;ril lttrlrl
                                                                                                               .   I e$8 - n,,rv./n, t4 j,,Bb)    rprE[lnTnirni
            '.?,1r )).i ")r'l?
                                      .rl) ]it:ua ryl,,t lN :00t ,':U ..!,!p: ,.l.tl)Nl
          ,'"'Jl.rlJ llt'i]lli'{:l:',i't: :rtnt} -ri?!B i-fr-?rJ,rt"n -.,rrrn                                                  ,),,)n Ot,N)n :ittrt,,il rgrg
                                                                                                                           X}:.rnnn}n iirr= f,arrX naWa
           'ir '!r.,1:.: 1)rp r;i-1 !i:
                                                               ,,r).1 ,:NNl lonl ,:;rl -iltnN
                                                                                                                      o, tnr ,llnNn .l!tn: ,!,,)n
                                                                                                                                                             "it;l;
                                                                                                                                                      ,1)r1 10,000.-


                                                                                                                                                       l.1t:,llJi       ":a|t:,
CONFIDENTIAL                                                                                                                                          lrlht,l?-CJ t':\:.1'               SHATSKYJDoT?os
      Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 52 of 66


CONFIDENTIAL                                                                                                                                               SHATSKY-JDO1 209




                                                                                                               I .(-{'.q' Zl   (t'J.Uj-q', u_1=.'r!
                 il'Tii"l-'l 'llttf]:-l Jt'lt{,'t:i'l'tJ.t:l t:t gl cl):,D r!) it-}}-r)},il1,)tf:l j.t.|,)]:
                                                                                                             -11:).'|):fl1r:trrfi ntilr3
                 il't'li lr) ;"t'l):1:!';l r'11r'1y1;1", r!): l:irf t:) iN).16, cl):,JL/t
                                                                                           ,1f;:C-),,V11 ,{ll,,S {6i fi11jjfi;i
                                                                                                 .
                                                                                            . _1t S-r.t,,-ru,J.i,(Z?5,vr), {ll-p1tun)



                 :lr1i.::r;-r.:'tt:,:t':.)'-,'),.pi -l1r:ruit.r)r],::,)N:,:1.Q3.0;:
                                                                                      i].t,.:J ,-.1.,i.)t:1 ,),,)i.) nuNln:l.:l?ryl]_-Lqjl!
                                                                                                                   ;'|Dir)ll ,-t'tH )V/
                 lriy/:r'tli;:t l--,'y';t1J.U:r'll ;tUrN)i).'t'lC: \-li: y.,"t1t.t: -rt)i:.,U),),,;i-r ltlt..lt:J J.lU>l:) ll.Dp.ry3 .1
                 ."lIiir";'il'l:-rr-:;-t 1)i;.in.t Ll):rU 3UN-l ."tnNl-t ,ll:ln n1-:! !,):iil.t i.ln)-) n)l:),(y.,I:y,n)
                                                                                                                              D))U
                                                                                                   .ui"{!!r'l 1N)',) t]v,Nlrr 1), Dv,,
                "-i1 y:r.\i y15r1lr 1;31,r'1fl) t.]N:j: VJl.ipt.l                                    ,1_\);tf1-.i -il":i{n
                'ilr1.'l ;iiJ).rj,'i''it -,"1)l'1 ;r1;r              lNl\"r!,,1 SVli.tj:r rJ::l;,1                     1i7.1:: nlnll)                 .2
                                                        1.r'rvJ-r:1.*',i:,!)sJn.g])r);i'1,g'D-.n-]i)\ l:\,; i:ttn) !11)) n)l.ill
                x]?i ilr'i))Lr:;ir r'r:'r;:,)"r l:ti.ut .i::':r 'li3):rui'r 'il),:t)n'}xry] ,,,.1;'rr.r:.,,r lnr'l)t-l r-.1)rrlll
                                                                                                                                  rl)p
                :i:)ii)it l)-ltii:l Dil.rtr,.i-l rclll.l)f,.ur;\lirn l,\:.r::,J.i)-I)).1,9t) -.)"t)l-] -..1i?t:t:lp\),J!i?.1,,9.t1f
                                                                                              ,-l,ri,l.t: f,-";Nlt: -!_r)lDftltl -fnN )f
                ,i''3't't'1,'i:.) i'in\'t't i.'u"l-) 'Ii)xlt lnrtN fll r,|.)N)x)-..) -.)nttl 7u lnr-r:, )):,n 05, l0 nyu)
                ll{"'}r'l lll}(}:)r-r "rr-lYlfl ,ClU;1)n nN !nUn },fr'},_\.,1f -Inf}N."it.lilf,,U)-il::l-.}-! )n) lY.,N
                                                                                                                                  ltnal .3
                I i'r) :itj ill-;'rli'-1; il):vn t'])-l\rulcn r')y;tn tr'!{:r1}:)
                                                                                        ,"}).rt?;r )f l-.ll :)\71bnir ,urNurn
                'i:flnan )!.1)jil clli:',1:]'l)l)t     r)-lf ltiS)) ),J-r],y-rl'T,lnN]t l-Ilj.rl ,:l.1n l)-1 .t)-.]:nl DuN)n
                                                                                            .- )l:trl)-.l lFNI )v,
                                                                                                                     .))n)f,Plf
                ;l)!..1"!fily': i:ll-. i']11)) v\:l>t't;',:'ivJ.ln l:: -l:ni:n g,).:::1 )y))i,t1."t"ftl DurNlncr .lnN, .+
                )ir |'r'.rr-'''r'inl: uN'.,rn lN)!'l iluliln l)1N) ,v.rr:-1il ).v itlt;,Jt:;.t ny::r, ll.tNEll
                                                                                                                               lnNn
                                                                        'i):l:l'tlil 'yl)t!i) i'']'r!'l ni-'l tl)!u) lUrN -l! J1Dgf,
                 i-r\1 a:irl:        ,./ \rt,,r1.^
                              1r,rr.:rl: ,\\.,r,; i6S r: t;.. .'-i:tl.:. .-.: ri-.rN iJl)))) ,,Jrr 0,:15 it)\),;l ltDut 5
                :,':)li .i"T1--',"r':l.,it,' , ])i-I!) 11q.;'.r l.l,))t;i) \))ii7ir .tlt\:l: tf,-r..r IN nulyn ,S6-$60-tl1
                'y3'l);rlt:) iii)').:;,;'r;1i'1' l:rr.t,;.t\:;:'i;r:.),11li: -.),trl-.tl: f,t.lu.liqn..py, u,Nf ,1.t0 )ltN)t)-t
                                                                                                                       .t ttlu'ti'{n
               ;.-::';',lil(;'i'l.t-':.r -i"in'tn;{ }'r,-itt ,t:'t:lUt}i;:.y.)J }11}.tt:1:'.,t ..,ini\-n;1.1! nn.t;{ D)i.:ij -}rgb .5
                                                                          .?trlif,.lN: ;tri]]'tVJN ,7,,1 l1^.);n ..ll_lDN: y)!.1
               .at: a1a;r;.;-.rr;,ir j:,j.i;':\ )l:r)l:;t Jti?::n l:t: t\);rt,,)Nlrl-r jN)'l )t.li{:::1 -,t):N1..},OUNlr.t .;
               ''t,it;;ail'inl*,,\"r -ir:'l-1: ])]-\]: t,i:\1 j ;,!i j)l,n:rNt:t p"1,,{U t}l ..}vr,i?j1n )lrN,l,-.} lr:Nn
               i)-:::n] :tr).i-\i'-rti'i tlD!,:::'!:'T)i ))l lN'ni?:,u1);-; t:Itt'y.la -I):n..{.tlDr:} l:f..1: yr}flt
                                                                                                        . ;\)J..1 11)f ) uy) gi.t.l
               '', lrl::) -)lj'i'r .l"i
                                          1i.119i? 1n?li :y/ ;:nlr: n)l'i:-l ilr;1:);i n-.)\ ,',rJr: trr-.lx_1j1):\."j .l)uyD:l .3
                                               .'1N1:ty, 1l:, ,.),))N.4)-.1 1::ii.:1 :t.1. i').)N y)5pn        nNtl.rf DliTnl
                                                                                                            'lll)trn


                                                                                                                                      :   )yt:l l,1!
               nllPn; (xli1185 nliTn 1l:' i'l'l)::r,n-).r'l1r1 )n)f nllnN-'tn: nl!))i) -rlllf,n:!.t1r:yit ,11;13
                                                                                                              .i9c5 ,{Dl:)n r!,vt) il))nn
           nln,ll, llnD3 1N'|"]Sl,lt Dl)):'il ZO02 17tr'rTtnn )nn ,llirN: ,7,,tn DVJNIn:i1.rr:tit r1trl!
                                                     : )l))i.n ,l.l-.ln1n )tl)f, nllnNnnt -ltn;'ttil;il
           !,'r:'f n'r\rn, n> nnuvj nrNfs il))rn: 'l3n n)n ,nlr):lNn nllp'ln -l)nnr ,),,)n trvrMir
                                                                               .o))>N".lu) Dtn.]tN 1)) o)y1))9
               ,nNnt,/y 'l-r'n uNty li.:l: cy ]n' 13.07.0: 8)1f n.l]nNn I)Nf,Jn n))lnn nN o)pn DUNJn
                                  .)"TXIJ -rnn;{ I'pn'rnnNt ,'uni2')" nltl):n O))pN n)nN-.llN 1-rNi7/y l}!nN




 CONFIDENTIAL                                                                                                                                               SHATSKY-JDO1209
                                                                                                                                    :J.Jl:001 -,1Nn
      Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 53 of 66


CONFIDENTIAL                                                                                                                                                               SHATSKY.JDOl 21 O




                                                                                                                           t1.? W: 9 tr-.1;.|,Jl-'1,1!.r
                                                                                                                                                            jt-tl i !

                ir'lr;r') l'It1t.,:!.tl.r;i'!tit'rlt"f:i'rlil'fil ,1:yr-, )jt) i-i-ir:t), ,i]l.tl):l 111111;;1;..;r"11lr llliti) :!t.trir)ri,l yif-i,r-r
                ir'r'ir,\) i1"1>'.1-t1''-r.1 111111r-iir'!:.::i -l:-,-r:1 r:i!;,i-r ir,,l4 t:J.:))yu] ,.it'i'0':),,trl-r ,(.r7s'\r)l) lrr-iDr*liii
                                                                                                               .   J..jir!..ir")U1 t,{ll 5',r):)) iltrnt u;ri

                iilll:):l bl'll) irirl:j ,j)i l))tun'ty])]f .tit:ri.0i.02 t)l)-l ,.].)l)N:l ,!,,-r;-i trviq);t :n,.]j,fl 1ul
                                                                                                               ,1i:i,,)t: ,'tnN )v., ItltI))
                lJrj.ri:)'-' yrvri'i'.1.,r.{ ,rliijlj-\/'y -t-l,t'l ui{:ty 7i\:,j r:.tjJ:1)Jl)v:l nv.r;ilir u.\)j:00,: ):}l) \1,T,}n: .1
                           '::;;{"1!j;r :t-'.r'} -t:t)) r1r y)):l ).}lJ):? tlrN.:tJ;l
                l-11:-r:t                                                                Iln}1:.ln )-lfr.} .tJ11 ),Xt .tr)N llgr;gn,
                                                              .'l::) l-11:!n DY,i,{-\il .f l-ti} 1),0)) J r'iDt Ol'U; -Jl'r')ll ,ii))i]")U
                i-}:!i "r.ri':i'r''r-' i'jii-.);:i: iJ',)i;;'i r))li.,t l:11{ -r';i.i'./')'r}:itlN u!'rr-;il.'i F}{r'r!;r.r }r):) ourtt.rn .l
                r:\'i"i,1:-ii!it irl; 'l;'1 -r1; \]';,r\lit ;-tjl-tlD):t:l ,!i))r.1--
                                                                                       l.lj_rl1 J.t:'.)v,,).1:-t!) r'lNll l)-1nN l)Lrn..fllrtv
                t:jt)'-'-r:::;: jt,:r1ir,rl::': l.'l::1-'il i:r !i-,r):r) ir)::' jnir r't:n Iix
                                                                                                  !)uirg )uli) n\r;.i)ii )y .ittl'lru't )-1trt1 .l)f
                                                                                                                 .r'|).J;t !l:j]:l cJ't)u_] n?n
                :l::i: t; r'r')\'i:"r)ii iili;'11,!':'i:' 'iiJ\t '-t't-r r:.g, 1:-ia):, >.:r)it't E)in 1ni'])'i) ;t)r )-1N)f 'illrrN . i
                            -1


                l:L';;j-lli.llirl',j'i l.jl;:11-1 :rJj ij't)r'.'1n r"l:nl.r ilu]{;.? )TNlf .i!_1nN n'r.r}-l l:,i.1 -,1-1x1,.;1;y 1rr;ir)
               Lrria;-)'111 ,iitt',_'.r
                                           f.i',rrr; r'Ti{l:..1:l1r1N 1r:,1;t ,.}.7) r.;ul:.t ltri\,.in)l::.liii .t-.;:ll nl:,)j) .1.:rgr1;1 r!1
                'i.:,ir:':-!.'r:'r_\-)'1f,:li-t 11!);\;i:it;.,...]fJ.t Illiij:J.r.l Q)).\\rn.iy:J)l !\i,,i-.i)ii:)-lu'.'1-t.l),:l
                                                                                                                                  ilNi) lgt,l)
                0lrJil? r.i ::.':t-i;r ).,1!): !)'l:'r''r^i 1-'|::l -T:ltrii']::l!n,l:)l-1 -tn,\::) .ll)tt-rlln yl)1:lir !tr-.,f llii
                                                                                .-il-;;{ nl-:j nn'T)) !l_'i)lJ;'l:llf}l )rl ,u)tlli] .lr.,lfr1.l
                                -,h::,-'i               'Ij.'rr1\,Tv.'Nin,l:':r';)))un.D,lnt lli:.1.07.0: o.t)f,,r]-.lflD).+
                '-\N:rl:t..lJ              '-j1-1-r\:
               ..,]i,'il:tt:i)_.:'::1;r!i'i ,rl-\,r\- ti.rJ) D1l)i):: i..rii )f
                                                                                               ,.i) tnl])Tl )-jN)_.1 l):\nN )x lru;ln
                :)''r:t.rr iJ!j\-r:1 . j!:!ri-'j\f i" i:':,-iii:1ll) :)'l 1-'1::n t]y vJ)rn) N):n []!,!i\)n .lJJ.llt,rl:
                                           J
                                                                                                                                          i)url;l
               ;1))i7"1!.! l:l',::t 1,J\):;r.l; ji-rl -lUN,nUi.i)i't -U t:ff:11"Tfl', CLI:00 nyU.}:r                                        iNJ)
                                                                                                                              lrDDt
               ll:l:.tLj l',rl.i:i:;':{:: i:::tu,y'f)tili.t: i.r\; ci,.+,1)1i"1 r'r;',{tf -tnnti l-)O}:1,r11;q -r.ll}fl)n, Di{11nf
                                                                                                                                                     .   Jr!)
               i"l:llri :'l'i :i.rji . 'rr:l' :',i.li ti ir.1i:'-.1\? .l:j1:;) nll)):),.r li\l:.i nNlll/i} f i\):tj i:t:)1.,i.i "r,li.tN ,n!rN)n .5
               Di)g':l ir)lrt lirr , :r.rri-i '.'/):) t1]n)) lt-1't:t |:l))it il'rN)n,llf'lil)l; r:'r),ili lrl;iy\)) u.rr)
               rl]tu,1-,',1y"r511 grr;1:i! J1):)F:: ll1.t: I)1:1?:-)1!ri(n NlnI]it nNnt,.) )N)f
               "l?'1.:: i1i.ll:).:i ;-.'.::::' *:,::,:t .1Il:11i1 !r)L:.\':;iit\
                                                                                                                                 ,!l)])n yt!):
                                                                                                 1:-)itl ,ilN)1 -;1r;;;16) :17:l,y:it -i,,-.-1
               -rr"l:1'-,il'l'"iitl.': l"liri.r)':,:i:t,             .::1't "-l)f -l-.r:ti-'r,r '.llpa 11lyn:r n..l\lr-:.; -I)r).llift .t-tt?-tll

               .rv! -, *i:1 -rt-r.-r^\,!
                                                ,... r. iri
                                               . 1.r.,.: .- :.
                                                                 _:.   Il],;t'; \'lNt:'::i'|t.: .t-t.:llli'l )l:n:):\il        l,-, rrtl:llt l.lff;l r!         .,<.
               -:!:l'ii{.il_'1j,-;'-':r..1}:-l )\.:,i.:'';;i !..'':t:.1 j-t-T
                                                                              n))i:-i.Jr.ift:f ntr)fn                 )y i;:rr1:';,1i;1 .iNi7 tr'n}.i]
               '-:) t":'rir:', ii:ir':.; ,1');-:; :llt',::: 1!:r;v-l;; u!-t)i"r 't:y..1 nll)n                          i_a1)., ;,-i\it D,n\Jn.1 )-t,\{IJ
               -))r:)i\:j _:l-,-r '_t): -'^.:-:r.:. at)i:1,i.,'.r:j:\:::1:J                                         ):I.-'ri,.r;::,1 !!1,)nl.-ti.rJ-tn
                                                                                            ir::j^, )y r;\il
                                                                                                     ..))-\l ryr-:i1 --,u !-1'rln':r i:ll1_-: :11-j)\.1
               :1-i)':a:' :-l:;-rj--: :;j-:: :;1;j' :1 j..':') I r)f n .ll:: -il1tr.a Ju 14.07.t1.1 i3llt t')l::t iiyU,?
                                                                                                                             J.)tlu: .,                                .


               -.il:' :;'.::rlri-l1i,j )J",'i rt;{ i!!.r\.\.:it i}5-044,0{,,::J:J il.,ir:1}i-.1\:,r r1:.,ri;1r1.1r) ){urDn,';)).1)u
               i]rfljl   -irlt)t    Li,.{-t n}r?l) 1:1 ,i,'-:-ri'1,, :iti .;.:it l)ni} D)u'-n::}:;t-l \\.1,)i']i! y_.rltlr;-rf-.i:
               ri):'ii{ -ii.JitN a}i -rt,itl']n ,i?Nit Li,.!'11);'tit -rJ':.:,) )11)j.a nll!-t }:r: rtrN,.-fNn -li]nx.l}t}n
               .i'rXl'l:-r.r!;i{tl }it'1 tl:}1i: iii'tr'iii :']N -1):.}n C\.?Ui{ t):nN.:ltn ttf.ttj.in ), )) nlt)-il
               :l;.r': Jbir -'1,,9t"1);i uN:] nnsl $)fl' nHl:\/l' :il::) N:) ,il.ii?ltf y)i;t :.t.1n lvJi.lf
               nlni) "1p'N'ly::'}il'tfy) )-.irf l)v/Dnt ,11y1)t) J-tl}],- D.t-u) n)]]lt:t-tn -.]:): tnlu-.llu
                                                                                                                             .]n)u'llv.,
           nNy'li"lf't ,v,r:ln ))lutvJ n'ln)ufn npynt :f]n u,\)In 7)!,: 1N.lnEil 1-.1);-t ]n'lu]Dnnn
                                                                                               nN:lnl .3
               ,l)"ln )n) ,'l:) ]Ef .:f]l nygl]i] ,-T}3!D n)nn lnY,,Nl ,ID)l: BNl ,fl-]n )il) l)lnl J)n
                                               .riNn!/y !x): nrr DntN o)y))p )9)9'tD y:i9) ,'l)t>D nN'l
           ourNJi'1 )v r::i: nN.l"ltiy )ri::t cr)ux lDnN ,truNln 1\J>nl )'l)i-r y]!)l Bl)9 tni{) t))D .9."
           !'ljr:: 'r:\J] ;i(it Q,n));'i )v: tn..: np!]Df 11J11) pNi? o,I))i.ll ..tNt:1 -lDnN.Dli7Dn ln
           'inll)1 r:Nt D'.nr:;11 r-IN!:'rI:i]N/.D]i7nit I:)t\) -lfy) n)!)in yt:Jr: j)n .])l)!rni1
                                                                                                   )1)r:ri1
           n.:rnn )-tf n\,, nln )y ;rxtt ,Dli.-nt ),,ni ulnlf nyiln ,y Druln)n n)).lnn )-l:nt ouNl:
                                                                                                                         .urt)pf p)73rn) 1nr)yr


CONFIDENTIAL                                                                                                                                                               SHATSKY-JDO121   O
                                                                                                                                             :0 0!.:dol , l'1Nn
      Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 54 of 66


CONFIDENTIAL                                                                                                                                                      SHATSKY-JDO121    1




                                                                                                                                          :l!1.:g_ltr!
                 r,ili:'li) {r}ii)ll5 itli)-?t X.t::r;'n)-t!,J-r-lt!tD -.jth,n'}-t!-li{I};..t -.}lfy I|l-l)U yi-\j).:l :ll:l.r-ill.!Lill,:U.1
                                                                                                                  .1945 ,(Dt-t)t] |yv"r) il))ili-l

                 .'ir;1.1
                          Lr;r;)l.l:r) i-i\rl),Jfh-rll:ruit
                                                                r.\.rl).-1:r lN 0.1.0g.01   [).li] ,_rlt)l{:l ,),,)n rurit)it :jl:ttllir-:!-1,?.
                                                        :ll;;i.r:r-rf ,-1'l-1j1ln )n)f j11-1'lNnn :,):V.,:l ;.iti"ti, ):.) Ir.r-.1)VJ y:J)t lt{
                 l;'l!r1iii-r u'1:):l J't1N]t'lDi) rr):!-l)tit ):1\))ln rllTl )f 5y n:lrlrrJr nv.,N)n ut:ll ,1.lt.lNi] -trl1)l:l
                :) ,;)i.i;)r-:t'ii1\;'r' l!)'tlil:n)N.\;t n)).inl, l)-t.1n.l UUNIn .i,i\ip
                                                                                           lgt) )r),tr l)'n";-r u)l r)rr;1-r;1
                                                                                                                  .Dn-'1:r'tf t:, 19r r1'; 19r;;1n
                                           ,ii)'.11frit )'l)n! D.)1))':) Jrlllv., .1li: nt>)rt !,
                ']1j,,):]J',lvr) r-1,].:
                                                                                                            tn:lv )l't)l)1n )-r:trl DUX)n
                                                                                                                                           .   rlil )))y9:




                                                                                                               :(2093202 .I.n) ty:rv;                 gu
                n'11i';)l 'ltnul nlN-11:t -t:"it t:l 51 ,.1:y9 )t) n-1)f,!   ;-1)1lf . n'il)_r il}]r-)) 1it''ttSyil xntlh
                il.itillJ ii-t1::y) .rtrlnNn lt:) -tf-tt 1:) i,r,)1,1 1ru17 \ ,197A-r',uJ7 ,i.ti8 ,rr:) i.lt"rn,.un')
                                                                                                    .   J.?68-n,,:vj.n,(l I 5'ur:; (1:rr:i,u;}

                1Ir1)3!;r-)',,:i:.i u't),^irJ, lt)let "Tyl)tf tN 05.0S.02 Dl):1 ,-inlN..!,)',:n nvN:n:nirllit !Ul.E
                                                                                                   ln         ,-lnN        ;       p?-r)                    :VJ
               "iNljlnul.J;) -'"rrN]!ii nr>ltl) i:i\it..]o1) l1:n u,t',));1 :u l1])).1 tnN) -l)ll 03.cg.c:
                       -tifl-lN
                                                                                                             D.])f .l
               .\"iNri          _'!:gn i):nil: lr|)rhn )-')tn!l ti,-rN)) i:Xit c,nln y)ii],D'TlDn E)u'rNi-l \l-l!f,
                      y:1:,' .nNnt/y il,n .?Nr! >N):.1 '.ul:t,),' r.tll)En D))gx i:)nN-.|::N -.)lNi:r.)r -,nnN
               "!1])t
                 :))nliN )'lr ul)n: ri.l.t):r n).t)l: nNi ,;.]));:r-.i!r l]t)).nr))f:l :)N".]v,r :]l-l 11.\r, lcrj )...|'
                                                                                I f :'l ll. I 9;-] lrl: nl |] v.,,N _r;"1 D ).: N'lyi.
                                                                                       .                                       .

                :x):t '-1! ;'t:n ,D:"t)i)alnil Jrtt)n) DNi:r: .yl))!n ,l).1:l ytfJ!r) rf,-1, ))-.)-!r),) tvrltj;.1 .:
                c'J,N)ii )y .lr-vpt: tlD) t:)l-l)1 irl11::1!l{'l!j.,) -l"t -}:y; )"t) y5:rj )-TNn -innxl nNl.}ll)
                    .!,11)ln yt:J): Dl)D: DV.,tt L1\_1)r::I l:f-rjt,4;.i yl.l)tn Dti?n) i.t)}lnn :t:1 nN y)"n: :.9til
                ).::n nntil .t]li?!,ll llun j)i:nl Ltui\i)n ,:t'-l]ny] ,'J)) ltL\un -D.tDt'iN ori.i.{.Jj tt': .j
                t! iv-')iii-'i i.l:i) n)1lnyl:.)],\,)t: ll"FtJ:tn lrpl'] )ui;'t ])7!,i?Nil l],r|))it 1-t\'a,.,Jv_rN_ril
                .lj):lil 1:1!l tt13y-11 f,?Ji.{tn ,nV, .i-}))i:1yl .}ll:t tNi? O,n))n )V rlrr: !N n'}lnn 'r:!n
                                                     .pNil i],l))i'l !u trr: nN tfi! l)n'lnN7ltlln n:t:D-.):y)
                lnnD \'t)n ):)il trr))U,i-'l 1)f trTptn O'lf)F) DNtlnft Or-.ln -fnnn Dy U)!) )-TNn lnnN .4
                                                     .il)x o)lt"tt n]N))i Tl)ltnnl ltiT)JrJ:r lyp ):11-l llvj F)ln
               Di:l -tnl lrnnnl ,nNll/y )irht tr)?DN .il:nN,rl;.11x r)inN:t)-ltn By u)!) nuNln .5
                        .            ."t'tNl't9,, Dl'In l1)) t)-.t nt v/)gn) Nrtn ovJNJn .ilNp D,nr)n >yJ lnll)])
               'llnl trvjN)n )X rUpnn l3:-10 n!v.r) Jtngf ,nt!9t).fi])gJr|'J11, i7Ni7 D'r))nu lnN) .6
               tl'l 'lly7 vlNf nn)n5: ])n]N..ltil) l)nnn?] il))i7-lv, lf,t)> y))n> ont n..ltn1 )n))).|n
               DU'N)nV/ ,ouNl;'l )V; ]::t: ;1rrp1u .I11,' otr'u nN tuy t)tf,nl DUNJnu -t]yt .)>N-lvrt
               JlyDn >y D)n.l.l)1 tr)rpN lnnN) ])fyn pNp E'n));-l ,D)rlnNn o)ft']n or]v.,1t! ,tf )nt)
                                                                                     .gl)f)f, ),,n3 )w ::1 r):
               J')y,nlU'-n:1)Nn'] )V-rN"ti'] v_J)lln l'l-r n))i7'tu lltr) no')fn !), nt)itV,,Rn tn)f nD5-.tDD .Z
               ly a':lnn .tfn)'] DUN)! nil-i) n).).]:f )uNtn urjtrn -.):!! n)!yn pNp o,n):n
                                                                                  .))Ntu) tlr )v, trtltpnn


CONFIDENTIAL                                                                                                                       l!1.0.1.:OoJ :ilrn              SHATSKY-JDO121       1

                                                                                                                                   hih. ra-.r:    r.-!^rn
      Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 55 of 66


CONFIDENTIAL                                                                                                                                                              SHATSKY-JD01212




                  'i)..ri:,):rnill i'i1';)'rt/'l:rl)) itl-/]))).ty));)
                                                                        flNltr),,.tt, )X?:tt nrlpX T)JtrN,:.y;i11 ^llnN,OyJN)i.t .g
                  .y'r.\!] Ullt'r-1 ii\))rlir )'i:i'l JrN u)t:r! l:t-r )lr 1::-r.t:t.l)l-!)-ir ut)Nlir .)vJN-ril \r):]r).l1iJpl_,
                  uitr.t -tf))i :,:" Itl\r'r:l "l!rli.J ur:lf) -ililt:/:l .ii{i.r,t.r1n ).fNll .t).JI..rN1 t.tNJ.ll/y
                                                                                                                      )i.t):r,.ti1111;1
                  i',1{:i!:}/it lrll!:,l.Jtt:ir.r l)J.}}..,il nr:rUN.r)-rfti.: l}1r\t,ntXlt:t Jlt))Unlt):t)pr:,551, "..,,,O.,"..,
                  1'r';'i'lu' -li)'r il'!-l'li)ilir )y
                                                       i'i)1.'T l)-.ryir)r ;'' r,:tJ.l '1rr1 119)1r lIlutf, -l\tN) )-IN)l .rnnN)]

                  'iirii-r!., il!r ti;'t ,,1i,;t:r..;r,,,,
                 'i'ii 1-,':jt:l i;'i":'.r; t):!v,,ii)):r,..r.1 ur:rt:i 1J-1.r,ijr'r)',j;lXlllil;-lj,r';T;j\iljl;j'lj
                                                             ).ltr)-1 :l:-,..! ,,,.,;r,r:,
                                                                                                                                                       ,
                                                                                    jii{ i.}u/j}};.} ,41-j43-04,u}.1 Jll))N..}.tr) ))n)i
                 :l'rii i l':l l':"1)r                 !",' :pu:!tt )rt:>fi{'t.r:rrr ,),ri rpu-r:r)r nn1.lN r,)},91r lf r,(,,f1-}ir,,
                                        't-]i-r'.r.1')
                                                                                                                                  .tf)Y/-rin B lf
                 il ll) i)l\:'Jl:n 7)r ,ur}':r,.1, lill*|N) t'lll'r-r -i:l:rl.r 1r:j.\r;.t -tl.)n
                ';l:lr!: .'l)r\11j i)ln)                                                              ,-.1)-].f irNi-r Lt,]l)1;-l l)f.r:r;,1 .lujN:).1c|
                                                   (it't.1) i.:lltft:)-til -l::r),,?,r{.{.-1 nljti}) )-INDfl:nX)t
                                                                                                                              nNn:l/J: }Nh)
                                             .piLi: tl'1'r',''r lU tir;.t-,trt ."t\ )'.,;{,.:) lDnN}t nNj.l:)/y !N::) t>:}rn Dr>t?X
                .:;;'':,':j:'i) rlir ::i'tl,J i!.i!: )'i\;-1 'ri)r'i;{', !ri{fiit.J j.NJ:t rn:rr
                                                                                                               ,rr1rn) .u).)i.r fl.r;-i .ruNl .il
                :;,."..:ri{: t;:l }r .:)-ri, .;iri! irrrr -,r*,. ,,r].i,i'ti,i1f;;";}:"i]:3*itffi;3:i,y;;X
                                                                                                                                                     ,,
                ,.;"i    :i)?rttl      r:.r:1) hiltlr         ,-:,vr
                                                                     irjrrr:), ir.,')., *u,xfrt;;ll;llil'l.,l.,'.{,Ij'ii,Jil:1.r,
                 ;-:'1,;r:';:;'i ,rlJ,:-'i:)}] ni.i)t1J'l) tj':i.',1-1-t ii-!!l:rl .-rfrit
                                                                                             ,nJii.l;,1:, )lyrv_,;l SrlltlX;t'.llr: 11.!! i.1;;rr;19
                                                                                   . rii.t:rtU, 1!):) ,)"I;\l: -TnnNi nNn!,/y )X)r l,.t) rtItlN




                                                                                                                      :(?09il02 .x.o)
                                                                                                                                                        '1,hy, ur!)
                i:'iliil) 11n\l:i l-lli'i't'li)'1.:,'f:l l)-t il t)l.J r:1.. ii..l)t),frl.pf,f                      j..lt.|n r.!,-.1-.lt:fl,,lr.tl,r.,t :'11i1r:t
                ia:ri-l)l n-l1l.rr) r.r;r"1i1';, r'.r]'1r 1;1-;, 'i3. il,.:,., ii--9Fl
                                                                                                          ,1gl0-:,,,ul.', ,ilis ,gl,1]i:,-,;iilil
                                                                                         ,                  t95g-n,.f,u.l ,{l:-i ,f,,}r) (,i,it)1.)\r;.].
                l.:r'in?
                           '-l:rrl: o"l.l ,l:r> llt]ilii Tytlt:: :;{ i;jj.r,tg.ir2 Lr-,)f ,-,1\iriyl ,},,-)n BuNJn : jL.LrlIl :u_li.
                                                                                                                            .1nl\{ )U  :   l:))rl'i
               t--,fl-. 1':it-,'!'!-1 ::;.t ir?yE:.r,-l::.t,.1lns: lb{ nr!i7-)!.r.l:):);_.19r:trf            .ly.}nl
                                                                                                  ,_),)}tNit         ,;,,,,i:lta,Nlir
               i))i)tr;r -,;'," 1\,jN.:i:'1i_a ):.it ,\,/t !i:?))il .S,1-jjt{ }Vr i.,rtt:: i.jl\}:l:j
                                                                                                           C-i),D-Ilij;t i)lyr,Ni_l
               i1)!7r;1,1 L1'lij: ltilitv-r )::) ,tli{_-it/:.r )x)::l ..?}{}: -rl:rnN tl)
                                                                                              Dr)N D)!)._1pi1 I'l!))!il                                   _l:J::
                                                                                                                                                          .Q i lr-l   r




                                                                                                                    :I a   0i;4?_ N. o).j -vlvjl]_q-r a
               nrrn)) lln\:f nlNlln't:'1::.iJ! 51            1:.r r-i1:y .n)Dlt l).rn,l)rr-l))
               n-iln') :'l"tr:!) nt:'"iliNir r5l:i::r:T;rf,'                                   lt)pt inlr:y;1,11fr6
                                                        ti:..,:f-'l:9 Drs)yc.l .W7A-r,,o;,i:lS,p"f                                                  ffi;
                                                                                                          .   1968-n,,19'n,(2: 5,9n, (ll1n.|uill
               n)l'llt D't-t.l> nu)J ,Jl, l.lnoil l!.ln: lN 05.08.01 bl't ,..).lr)N-f, ,!',h oux:n :lr
                                                                                                              't,1!
                                                                                        :])r)il-r ,-.tf]N )u tltn>
           utSt tr1.]N].r]Dn l)v/ynf ,1:) 1tr:u: .y ;1::1?1U lrl)) np))13
                                                                               ,-11,f,xi.1 r!tn: ,),,)i.r ov/N)n
                           .1nr)n ):: 6131 ,:)ylgrrn :fln ryD,)l )u ontt:) nttr) nB))
           o)y))i I n!,r)J)l )gr)l y:J9) ,:If"'lr yD) ]uN ,r ll iri:D)>.r.r :Np ,oux:n-nr)nlnnrl,)y)tvit olvr)Ni.l
                                                                                                           nNsrrf
                                 .)},):un tr'tu)Nn utit ..lN.tIU rlf ,nNnr,/), )N,:t rtNn _rnnN .l-t) DnlN




CONFIDENTIAL                                                                                                                                iur.0l.l003 i'1\ir            SHATSKY.JDOl2l 2
                                                                                                                                           lilhir!-tl      \!rt^!6
      Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 56 of 66


CONFIDENTIAL                                                                                                                                                            SHATSKYJDOl2l3




                                                                                                                                               r.!tl.u_?-'g
                     ..':ri..;;r I'l.lt:i:, :r..;,-.r rr,);,.1),:),rl.l.l.;]): );1:r:l
                                                                                          ln.||t;{J]n 1.}:1}, J.ll,.t)v.,}r.lJ):1         !.t . i,.i"t,!'i t_i:'Litll
                                                                                                                          l?15,(L:n )l'r Il!'\,1) i-i-r.j, Ii-l
                  i,lr:lru ;lljJ',:.!r\.'lvJit r:')ulxn nl):l -)Ntnr:il
                  '.):r:; lllttiN_r']ir liti.ti, ,(,,t.))i)]t,,)                     !.13::l -rl1i{},lll)Nt,),,:n.vN:l ::l:t?il,,lli.ll?-,n
                                                                                                .,r:":,1.r:
                                                                                     lu_rx;_;                 i{litU:r),,.,:rri, yrr, lN N)ii,l., )f
                 I
                   ".'1!;{ .:;ir'.,'t:l;i'l'iii:-rl:r l}llt}{ Ui, .tfi. ,-1..r).1.}nU3 lii i.}}t)Ul,-.1-rrl}tir
                 :1)'::\:i1 i:,r,'!) .fitt'i'i:) $)lrT;.r:r t),.-.,.., t,,rr_..,1                               *r,r.,]jlr1] ,;Jl]l
                  "ri,'f33r" jt)'rN;t:rf,:t)ii:..\:it )rrtr;r,(,,i{.yi?X_)X ,,-,rlrir:t).r Nul)l t:yp )N ii)) ,,,9y.p;,y,,t)l)Fn
                                                                                      r:)n 1-,,1-t),,),,NJiJir-rN
                  li'1 Itltli'l :,'U\r)it:J1S):r:r
                                                    Ii).lnl( !pi),:.r-l-1-lir.l r:f!::ftfr,Xfln N,l,_tU ,rl.,ltrn}iti,l.tU -tNi{rt:,,,
                 'rt'; il-':::y;-''l '{.):1),}:\:a} rl)il-r)n lrN t}}r-r;'r ;,rJ1g 1r1,9.)!)t}rir -!J., )!,):lu,i} )fy {,,U:t-r:t,,}
                 i.'1ii-i..';t Jlli r:a'r.)it JlNtt!/! .).t,n                                                        D),r}Nn )u-rr.
                                                                U)t:.1:,91q):i r.lXt: -t)-.nil |y1.1 .in^N
                                                                                                                  ,n\)i{)a
                                                                .-t),u ::l'tl c)]v.,lrnt n))l )jly-l D.r.lir;.t: :i,:))u:t
                                                                                                                             ^nVt}t,U1
                                                                                                                           il)lI)Nn



                                                                                                                                     :'lVrr,'rnlr \:r.tS
                'ii'r'':r:r:: :-!.'l!-r -rr'1-il) '1pNn   -rl))u vrt)u) )yn ;rl)-rvl i]-l)ry )t:lr:) rv-,i:.r1,!r;,-
                .:.{'6ll-it"-tu'tl .il.:5 ,iln, {,p-rntunr n.,rniirn,ir:                                                              :il.l",,{rrilrl
                                                                                          nli..}nNn r}::.r:r:: tJ) ii 1r.ve rj! n-lr*r.,
                                       'J1?;0':"t'rr,{r;3't'}:l r',i1"}Drun} n-r'}r1:) rlnD)r r'}N-.}1i.}.ll.r: l.y:51
                                                                                                                                               1)yu }s}r
                ,::'^.t';f, 1i';: ,l:l-:
                                            ?1,:)tn -iyl):: tN:00:           DUl]tN Ultn:,.1,|l)N] .!,,)n Dv,rN:;r :i).lr:!r1 rUlr
                              j
               i.r.'|ir) :-r !!!r)\r ,-\r? r'.-.y,:nr n,\n!/y -,-,,"
               r")ii-li)'rt )ir)1 .;;rr);;*,i!r 3rn11*:'!'r)):.            ",lil;?i;.]11-'Jril]Hi:Xi,:f*,.,*l,L*
                                                                     i.:r'i,': nJ,r ::r: trii.r,.l):r.r N!;?lr.i
                                                                                                                 rr-rf..) 1:r:or
               .'.r;: )r','tr i.i):in tt7.:1.r i)t.11.f-,1;lx .iNi!:t it::t  :,1,:       ilt{:la,/}J ?X!: ,}::tr:r;,. ,rrrr"
                                                                                                                                           iriirJl ,.rlll
               :.\', .-:.,. .;i:'.,*i            rri:).-:,iji-l-..;iri;Xfif,f
                                          r)vn
               :;\'::: .:' ,!:-r::! n){-'-1:1/} ?x).:t rvJN)il ,,$nif ,),,             ;,i:;,;?J:i*;i:rl;;X:
               ':u. j"t':':;;'i:rr5r: r'!1r1 ,NJ'r:l'n al:: ru,r.in:un).}1,:j1       c:)trN orn\-l_.rN -.}-iiia., 1r.:n;\
                                                                           l'.1:n ,.1:r.r-.]:.rir9r                        r.iuN-lr.,) ))))!n.y,r:):
                           .'i'',iv);l :ir:)ur :".rfn )u rry)r: !v. ttnt.n ..}ur7n
                                                                                                      ,N ,;f.;;T;.;*Trt:;:?;?,ii:



                                                                                                                                      : i'!r3;";;1 r1v


           lU l-;':.";: yr1.r):1 ,u'?.rtr)i.1 t,i'l"tnN l:u),,,::r:: n)n,-] *i6il
                                                                                   .".o,:N)ny, l.3rN n,,r".t.l
                                                          .(n:l:yn) nl:ln ntn,,lr u,ltn ,r):.lyn nru,--: ovrN);l
           :rr^u ip)r u,,)li, :Ni                                                                                 ,r:ll
           llg)i7 g;r,p ,1,lnu nrn"'!"t t )r,,) N"t
                                                   "rl"ll,:j'tH;;?';:X:;;:I;f                                              il]l,ll ;         *i ;
                                                                                     n-tfrn ,-*12:zg .N.D ,r-r1-!11:iy il,tft#3 -
                                                                          ''t))l
                                                          .   re4 1,o: .51. n - 1 13y;neoaaeo* r rr' .,

                                                     ,.[821202 n.n
                                                                    - rr:vl'*d:635 r.n ,'ixo                                     ;!l3,
                                                                                                                lili,li,o; ;',lilil;
                                                                                                                          ionn'i,";;fi
                                                    .1321102 .n.n -       R* '-ot
                                                                            rt:yj                                                      ;
                                                                                                  33 . i      r ,nNr9/!    -lrn   pNf), )x):.:
                                             ,,oo,.,l,,ll,ii j;*;,I'ii1;TT:;:*ll;lxl,L,l:,lic"ll
                                                    .fo)xp - '.rlJyJRedac{edl90.3 .r.n ,ulrt,tf N xlurr,, -TnnN,.INu.t0
                                                        .{D)Np - -1tJ},J Redactod5?gt .t.r ,n:llnn        ..lfN,)
                                                                                                    l)nN          l):nN.ll

                                                                                                                                    lJ.Jl. il0l :'.]Nn
                                                                                                                                    hrlu:t'ii t.-r)u'g
 CONFIDENTIAL
                                                                                                                                                                         SHATSKYJDO12I3
       Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 57 of 66


 CONFIDENTIAL                                                                                                                                                      SHATSKYJDOl214




                                                                                                                                                    $lltgZ-,!4t
                         .i;1:.1r'.1i i'{:,,r:}..f      ,,'-,..,,,;[',:;                                r.irr]r ,*.rl,.i;' .;y.r:]
                                                                                                                                       ,.rr:!.r ,,.r
                                                                                                                                                     ,;,,,u.r.II
                                                                           ;';r]j,lil;:111,'o'r,
                    #1)).) ,1.1.,1;1.!1:,|     .:rri! o,.,,..,r .,i,,rr,,il;-,,J*.iiiil,;l:lll;|;ll,:l]li!i1;:l;ilii
                     i..:..1;;r.1;; Jr..r\r,,.i\r/.r ,.. . .
                                                              if l:i02 Lr))-\rLr 'rr'
                                                             j:,
                                                  ,,; rr,i ;r l,,i iu ilir l;'
                                                                                            ;ii1i,           i t_i; ;           i,'l t.li;r*i *
                                                                              .{J-.1..|.tJ + i.t-t)p:t
                                                                                                           I r:,.i ln r:r:r::J ),,;l,y
                                                                                                                                       ,}it)tt }),1 .1,,.r.1/
                                                                                          ,.ftry,:n:r
                                                                                                          s,.1;,.r;r;.11611.::1i. i ,.,
                                                                                           nyr-lrtt o}l_r".ni,l Rdd_
                                                                                              - {
                                                                                                                                               ;r;; r;n.i;
                                                                                                                                  S::l t. tr,:,r u nUrr. il
                                                                                                                                       .
                                                                                                  .f;t'.t'..1;;1 i'r:'rr;,i.- .;.-y,r.1-,1211c
                  i{"1 :.:,1':''1:rt}:: lr-r.,',";J                                                                                                   lnltr.l0
                                                          r:.; .l,,i.rur:.:r, .ir.) ,i;}J./j}.1r                                       ).11"..;   ,tno'iirr.ii
                                                                                                    tl) N.it} ';,1, ll;rl;.:.1r;;i
                                                                                                                 .,rr*. i,, r,,.,,, ,r,u ,'.,ii,11.;t]lijl,,

                                                                                                                                              It{,rr9-l".lo
                 vr\)):) ,,:i:):)):,-\.,.r jrii1.:) -,,r^t1lli;,L,1],XlnJ:-'..:: n)r'ln,*Bsil;                               \.D,N:)u nrln, ),,Dr r j
                                               (r:r rr: rr.1 v^ e-,,;;
                il:,)'rJr,/-i.,rr \f i),11 .6r;131;--y                              ;; ;i .,,, -,ii:i"i,i,t;il1
                                                                                                        ;;;]; ::i ili.l                              -;; :;
                                                                    r*ri:in,,i*rrr*i ,,nrra ,,rnn ili..:J.a,,".
                                                                                                                                      ,oran.i-.1 r.,ur.l5
                'r:r) *srrr u.))r,1113..e1
                                                              "",.1,ji:i-::,;;:;:,,,i':i,i'q1'r?Xi;
                                                                  e i t0?.,ur: orr-y:.b_n 1v,,..,:,
                                                                       .        s
                                                                                                    *gi*;rui,,      rr.*i_. r. i ir.,o u.)!, l:llyl,r)
                                                                                                            ;"
                                                                           .   {n}r.,:r: .',, ;,i]l'l : ; fifiL#,f1r: : "nr, 7vNlB rn}v. I
                                                                                                        I                                                  i
                                                                    .in.v'3.1,.'    .',',!j,i. ,:l:::l.lr:;;i'n"o*r"a '-',1.'.-;];li?,r"?,:.,I].ii
               :;5) ;i,r;.,,..,, r.,1.1.,., ..,.r
                                                          r,-,.,,rr..!t'il;;; [:. ', ..,,r,]:1,*t:f,;;l
                                                      ,
                                                                                                                                l;;i:: fi]lnftl
               pul :l-f:!l: .v'l:r) !:t$ -ipl - j.rlcic jn.-..,rri                                                             .[.i.lntrn,rr"ra--
                                                                                                       __-.
                                             ,,,,;i i_ ;1; ;,,,..:i :;:;: t ?i,li
                                                                                                      *', I i" ; I i; l;:, ; :, il" :l ;ill,,
                                                                                                             I




                                                                                                                                           e!!:8e,-8€
           .rr): r,,-r.r u,)r)
                                             1,.r,)j;Tii.i ,"j.jl';3lj',,ii=_t',ln,T:5: .li.F ,.|r-r;;N .],!rn\.,r,,c'..1.;l
          $1)'l--' yJ,.rn ,!:::ln) ,Nr,]:
                                                                    .r" ,.j;':*lljf'"ir* t*.:,,r.,
                                                                      .[ni]':r: L1'r?-'l];
                                                                                                                                      ;,iii$:
                                                                                                                            :;it/0: i:n ?'r'l"lr.E
                                                                    n,,,,,, o ii i,; .
                                                                                              :l iii1, ;lrffj ;, ;: ;:l ;;:jX i
                                                                r
                                                                                                             :1,1
                                                                                                                                                       ;
                               rniry + r-r)u! n)rry:..ro,.,oy ,,r.,r iiilll;,,?]"i.r,_-:
                                                                                                                                i.:r,.,.)Ni.,:.rr.3c
         N) :                       ''l"NDl1-J',iD,(:Z
                                                                                    "X;:"tl;::,:l
                                                                     .'^'-tio] ,l::;ll}X ]:;].i3                            :
             'l'r'3rh) "',r',f:::.'-'1ffi-';]3         /ny O: N)it),n>.,i -.,.,r,i"n _.,O r,
                                                                                             T:'y nlt),n,41
         ,pv') n.r!,n ,1r:,: ):q 1pf .
                                             (64r45/0:_0il:r,.:^:i{:;llrll]1.i3:,:Hrlll*l_,
                           ,[Jl,arln rry': r)9!
                                                  ayrrn> ni*> N] : rlllfi,)                                            nr,n, s_. t,,Nu]:-!,,tn



        lr"' t'707t"r1Jt jnbt
        tN3y

                                      ",/'*
CONFIDENTIAL                                                                                                                                                       SFIATSKYJDO'214
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 58 of 66




                    Exhibit 146
                                    Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 59 of 66




                                                          Prisoner            Stttenrent
  Prisoner no. 50625
  Prisorrer Name: Hussam Abdul- Kader Alunad Halabi      Docrunent no-
  Month     Year     Beneficiar,v                             iD no                   Bilk   IBranch   Accorurt no.                   Salary
                                                                                      Nane




                                                              F-edi..cleJ




 4         2020     Hussarn Abdrrl-Kader Alunad Halabi               9239                                                            3"440_18
 5         2020     Hussaru Abdul-Kader Nunad Halabi                 9239                                                            3.440.r8
 6         2020     Htrssarn Abdul-Kader Alunad Halabi               9239                                                            3.840.18
 7                  Hussam              Alrmad Halabi                                                                                3.440.18
 8         2020     Hussaru Abdul-Kader Ahrnad Halabi
                                                                                                                                     3.440_ l8
 9         2020   Hussam Abdtrl-Kader Alunad Halabi
                                                                                                                                     3.404.21
 l0        2020   Hnssaru             Ahmad Halabi                   9239                                                            3.404"21
 ll        2020   Hussarn Abdul-Kader Alunad Halabi                  9239                                                            3-404.2t
 t2        2020   Hussam Abdul-Kader Alunad Halabi                   9239                                                            3.804.21
 I         2021   Hussam Abdul-Kader A]uuad Halabi                   9239                                                            3.404.21
 2         202t I Hussam Abdul-Kader Alnuad Halabi                   9239                                                            3-404.2t

                                                                     Page I of2

Conlidential
                                                                                                                      ShatsLj-JD00292-T

                                                                     7128t21
                                                                         Jb

                                                                Salem 6
!l'?'li;* lnoi:]"iltD IU hti.iu
                                            Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 60 of 66




                                                                 Prisoner        Statei[ent

 Prisoner no. 50625
 PrisonerName: Hussam Abdul- Kader Abmad Halabi                  Docrunent no
                                                                       ID no             Bank   Branch   Account no                 Salary
Month Year Beneficiary
                                                                                        Name
                                                                                9239                                                         I
3          2021        Hussarn Abdul-Kader Ahmad Halabi
                                                                                9239                                                         I
4                      Hussam             Alunad
                                                                                9239                                                3 4A4.21
5          2021        Hussam Abdul-Kader Ahmad Halabi

                                                                            Page 2 of2




                                                                                                                      Shatsky-JD00293-T
Confidential




                  .l"'tND
.:;.l? lii'lboD             rli' !;lN'iia
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 61 of 66




         Translator's
         Certifi cation
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 62 of 66




    LINITED STATES DISTRICT COT]RT
    SOUTHERN DISTRICT OF NEW YORK
     SHABTAI SCOTT SHATSKY, eral.,

                                         Plaintiffs,
                                                                   Case No. l8-cv-12355 (MKV)

     v

     THE PALESTINE LIBERATION
     ORGANZATION and THE PALESTINIAN
     AUTHORITY,

                                       Defendants.



                                     DECLARATION OF YANIV BERMAN

           I, Yaniv Berman, declare pursuant to 28 U.S.C. $ 1746, as follows:

           1.        I am a professional translator with an M.A. degree in Middle Eastem Studies from

    the Hebrew University of Jerusalem (Israel). I read Arabic and English fluently, and I am

    qualified to hanslate from Arabic into English.

           2.        I certify that the attached documents are true and accurate translations of the

    Arabic originals designated as "Shatsky-JD00012" through "Shatsky-JD00534." The

    translations are labelled with Bates numbers that correspond to the original documents, with the

                    o'-T"
    addition of a           at the end to indicate that it is a translation.

           3.         To the extent that some of the information in the original documents was not

    clearly legible, I have translated such information into English to the best of my ability. Such

    instances are marked with an asterisk ("[*]").
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 63 of 66




           I declare under penalty of perjury under the laws of the United States of America that the

    foregoing is true and correct.

                                                               f--'     -
    Dated: June24,202l                                                               )
                                                              j       Yaniv Berman




                                                    2
Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 64 of 66




                         riginal
     Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 65 of 66




                                                                             r ;.1I

                                                                                                                               53525 2-!r p-y
                                .""'..'. ..41q?1!?3.e :'i:'r.ir                                              Jri,, .u.' ,,.rLJr. J,-.     r-./r sl
                   "r:{                                                               Jii   ial.Lrl,
                                                                                                       l.t                                           -.1.:lt




               Herisd.id
                                                                                                                 irr-lurter:




                                                  !€rla:lid




                                                                                                             ,slri' *t   ;:r!e.J        3020
                          a,e

           3,4-.r:.18
         t 3.4CJS
               3




               2r,.rt{
               3,-1t4 2'




                                                                  !...1i,.   ?l




CONFIDENTIAL

                                                                                                                                            Shatsky-JDO0292
    Case 1:18-cv-12355-MKV-DCF Document 177-21 Filed 05/16/22 Page 66 of 66




                                                     ,:l   ,-i;g

                                                                                                 5d{25 *-!l t:
                       41A249235 rtiJl.r.                                    .* *|,r:51'u:.'j;-'.' .*'r'r r-r
                                                                   *M;.,                                   ii-li
                                                a
                                                                      1239    ojJt*:.$1,-"ru.              2C21

                                -la(la r.le(l                         )23s    r:!h    lAtJ*,:rr,Ls         2t21
                                                                                                     j.*              q
                                                                      r?30    g.1.,11 ,-,l   J:ti5




                                                    isirfu.:J




CONFINFNTIAi
                                                                                                                   Shalsky-JD00293
